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                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF DELAWARE

   ACCELERATION BAY, LLC,                           )
                                                    )
                         Plaintiff,                 )
                                                    )
          v.                                        )   C.A. No. 22-904 (RGA)
                                                    )
   AMAZON WEB SERVICES, INC.,                       )
                                                    )
                         Defendant.                 )
                                                    )


      DEFENDANT AMAZON WEB SERVICES, INC.’S ANSWER AND DEFENSES TO
              PLAINTIFF ACCELERATION BAY LLC’S COMPLAINT

         Defendant Amazon Web Services, Inc. (“AWS”),1 by and through its undersigned counsel,

  hereby answers the Complaint filed by Plaintiff Acceleration Bay, LLC (“Acceleration Bay”) on

  July 6, 2022 (D.I. 1, “Complaint”) as follows.

         To the extent not explicitly admitted herein, all of the allegations of the Complaint are

  denied, including the allegations contained or implied in each paragraph, and in each heading.

                                            THE PARTIES

          1.      Acceleration Bay is a Delaware limited liability corporation, with its principal place
  of business at 370 Bridge Parkway, Redwood City, California 94065.

  ANSWER:

         AWS lacks knowledge or information sufficient to form a belief about the truth of the

  allegations of paragraph 1, and therefore denies them under Fed. R. Civ. P. 8(b)(5).



  1
   The Complaint defined Amazon Web Services, Inc. as both “Amazon” and “AWS Inc.” See D.I.
  1 at 1. Acceleration Bay also references “Amazon.com, Inc.” throughout the Complaint, but
  Amazon.com, Inc. was not named as a party to this litigation. To avoid any confusion, Defendant
  uses “AWS” as the defined term to refer to the named defendant Amazon Web Services, Inc. and
  “Amazon.com, Inc.” when referring to Amazon.com, Inc.
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          2.      Amazon Web Services, Inc. (“AWS Inc.”) is a corporation organized and existing
  under the laws of the State of Delaware, and upon information and belief, has its principal place
  of business at 410 Terry Avenue North, Seattle, Washington 98109. AWS Inc. is a wholly owned
  subsidiary of Amazon.com, Inc. (“Amazon.com”). AWS Inc. may be served through its agent for
  service of process, Corporation Service Company, 251 Little Falls Drive in Wilmington, Delaware.

  ANSWER:

         AWS admits that it is a corporation organized and existing under the laws of the State of

  Delaware with a principal place of business at 410 Terry Avenue North, Seattle, Washington

  98109. AWS admits that it is a wholly-owned subsidiary of Amazon.com, Inc. AWS admits that

  its registered agent for the service of process in Delaware is Corporation Service Company, 251

  Little Falls Drive in Wilmington, Delaware. AWS denies any remaining allegations of paragraph

  2 of the Complaint.

                                  JURISDICTION AND VENUE

         3.     This action for patent infringement arises under the patent laws of the United States,
  35 U.S.C. § 101 et seq. This Court has original jurisdiction over this controversy pursuant to 28
  U.S.C. §§ 1331 and 1338.

  ANSWER:

         Paragraph 3 states a legal conclusion to which no response is required. To the extent any

  response is required, AWS admits that Acceleration Bay purports to allege an action under the

  patent laws of the United States, 35 U.S.C. § 101 et seq., but denies that it has committed any acts

  of wrongdoing, in this District or elsewhere. AWS lacks knowledge or information sufficient to

  evaluate the truth of the remaining allegations of paragraph 3, and on that basis, denies them under

  Fed. R. Civ. P. 8(b)(5).

         4.      Venue is proper in this District pursuant to 28 U.S.C. §§ 1391(b) and (c) and
  1400(b).

  ANSWER:

         Paragraph 4 states a legal conclusion to which no response is required. To the extent any


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  response is required, solely for the purposes of this action only, AWS does not contest that venue

  is proper.

          5.       This Court has personal jurisdiction over Amazon because it is incorporated within
  this District.

  ANSWER:

          Paragraph 5 states a legal conclusion to which no response is required. To the extent any

  response is required, and for purposes of this action only, AWS does not contest that this Court

  has personal jurisdiction over it.

          6.      Additionally, this Court can exercise personal jurisdiction over Amazon because it
  has committed acts of direct and indirect infringement in this District, including through selling
  infringing products and services in this District and because Acceleration Bay’s claims arise out
  of and relate to Amazon’s acts of direct and indirect infringement in this District, and because the
  exercise of jurisdiction by this Court over Amazon in this action would be reasonable. Amazon
  has more than minimal contacts with this District such that the maintenance of this action within
  this District would not offend traditional notions of fair play and substantial justice.

  ANSWER:

          Paragraph 6 states a legal conclusion to which no response is required. To the extent any

  response is required, AWS admits that it sells products and services to customers throughout the

  United States, including in this District, but denies that it has committed any acts of wrongdoing.

  And solely for the purposes of this action only, AWS does not contest that this Court has personal

  jurisdiction over it. AWS denies all of the remaining allegations of paragraph 6 of the Complaint.

                         ACCELERATION BAY’S ASSERTED PATENTS

           7.     On March 2, 2004, the United States Patent and Trademark Office (“PTO”) issued
  U.S. Patent No. 6,701,344 (the “’344 Patent”), entitled “Distributed Game Environment.” The
  ’344 Patent lists Fred B. Holt and Virgil E. Bourassa as its inventors. Attached hereto as Exhibit 1
  is a true and correct copy of the ’344 Patent.

  ANSWER:

          AWS admits that the ’344 Patent lists on its face “Distributed Game Environment” as its

  title, Fred B. Holt and Virgil E. Bourassa as its inventors, and March 2, 2004 as its issue date.


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  AWS further admits that Acceleration Bay attached what purports to be a copy of the ’344 Patent

  as Exhibit 1 to the Complaint. AWS denies that the ’344 Patent was duly and legally issued. AWS

  denies any remaining allegations of paragraph 7 of the Complaint.

        8.       All rights title, and interest in the ’344 Patent have been assigned to Acceleration
  Bay, which is the sole owner of the ’344 Patent.

  ANSWER:

         AWS lacks knowledge or information sufficient to evaluate the truth of the allegations of

  paragraph 8, and on that basis, denies them under Fed. R. Civ. P. 8(b)(5).

          9.    On June 2, 2022, Acceleration Bay submitted statutory disclaimers with the PTO
  disclaiming Claims 1-11 and 16-19 of the ’344 Patent.

  ANSWER:

         AWS admits that the United States Patent and Trademark Office (“PTO”) records indicate

  that a statutory disclaimer was filed on June 2, 2022, disclaiming Claims 1-11 and 16-19 of the

  ’344 Patent. AWS lacks knowledge or information sufficient to evaluate the truth of the remaining

  allegations of paragraph 9, and on that basis, denies them under Fed. R. Civ. P. 8(b)(5).

          10.     The ’344 Patent is generally directed toward systems for an effective broadcast
  technique using a regular network. By implementing such a broadcast technique, the system is able
  to provide a broadcast channel using an underlying network system that sends messages on a point-
  to-point basis.

  ANSWER:

         To the extent the allegations of paragraph 10 purport to characterize the contents of a

  written document, said document speaks for itself. AWS admits that, according to its abstract, the

  ’344 Patent purports to disclose a broadcast technique. AWS denies the remaining allegations of

  paragraph 10 of the Complaint.

           11.    On March 30, 2004, the PTO issued U.S. Patent No. 6,714,966 (the “’966 Patent”),
  entitled “Information Delivery Service.” The ’966 Patent lists Fred B. Holt and Virgil E. Bourassa
  as its inventors. Attached hereto as Exhibit 2 is a true and correct copy of the ’966 Patent.



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  ANSWER:

         AWS admits that the ’966 Patent lists on its face “Information Delivery Service” as its title,

  Fred B. Holt and Virgil E. Bourassa as its inventors, and March 30, 2004 as its issue date. AWS

  further admits that Acceleration Bay attached what purports to be a copy of the ’966 Patent as

  Exhibit 2 to the Complaint. AWS denies that the ’966 Patent was duly and legally issued. AWS

  denies any remaining allegations of paragraph 11 of the Complaint.

        12.      All rights title, and interest in the ’966 Patent have been assigned to Acceleration
  Bay, which is the sole owner of the ’966 Patent.

  ANSWER:

         AWS lacks knowledge or information sufficient to evaluate the truth of the allegations of

  paragraph 12, and on that basis, denies them under Fed. R. Civ. P. 8(b)(5).

         13.       On June 2, 2022, Acceleration Bay submitted statutory disclaimers with the PTO
  disclaiming Claims 1-11 and 16 of the ’966 Patent.

  ANSWER:

         AWS admits that the PTO records indicate that a statutory disclaimer was filed on June 2,

  2022, disclaiming Claims 1-11 and 16 of the ’966 Patent. AWS lacks knowledge or information

  sufficient to evaluate the truth of the remaining allegations of paragraph 13, and on that basis,

  denies them under Fed. R. Civ. P. 8(b)(5).

         14.     The ’966 Patent is generally directed toward systems for providing an information
  delivery service using a regular network. One of the ways this is accomplished is by sending data
  through neighbor participants.

  ANSWER:

         To the extent the allegations of paragraph 14 purport to characterize the contents of a

  written document, said document speaks for itself. AWS admits that, according to its abstract, the

  ’966 Patent purports to disclose “a computer network for providing an information delivery

  service.” AWS denies the remaining allegations of paragraph 14 of the Complaint.


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           15.    On May 4, 2004, the PTO issued U.S. Patent No. 6,732,147 (the “’147 Patent”),
  entitled “Leaving a Broadcast Channel.” The ’147 Patent lists Fred B. Holt and Virgil E. Bourassa
  as its inventors. Attached hereto as Exhibit 3 is a true and correct copy of the ’147 Patent.

  ANSWER:

         AWS admits that the ’147 Patent lists on its face “Leaving a Broadcast Channel” as its title,

  Fred B. Holt and Virgil E. Bourassa as its inventors, and May 4, 2004 as its issue date. AWS

  further admits that Acceleration Bay attached what purports to be a copy of the ’147 Patent as

  Exhibit 3 to the Complaint. AWS denies that the ’147 Patent was duly and legally issued. AWS

  denies any remaining allegations of paragraph 15 of the Complaint.

        16.        All rights title, and interest in the ’147 Patent have been assigned to Acceleration
  Bay, which is the sole owner of the ’147 Patent.

  ANSWER:

         AWS lacks knowledge or information sufficient to evaluate the truth of the allegations of

  paragraph 16, and on that basis, denies them under Fed. R. Civ. P. 8(b)(5).

         17.    On June 2, 2022, Acceleration Bay submitted statutory disclaimers with the PTO
  disclaiming Claims 11, 14-16 of the ’147 Patent.

  ANSWER:

         AWS admits that the PTO records indicate that a statutory disclaimer was filed on June 2,

  2022, disclaiming Claims 11 and 14-16 of the ’147 Patent. AWS lacks knowledge or information

  sufficient to evaluate the truth of the remaining allegations of paragraph 17, and on that basis,

  denies them under Fed. R. Civ. P. 8(b)(5).

         18.    The ’147 Patent is generally directed towards methods and systems for leaving a
  broadcast channel. One of the ways this is accomplished is by sending messages to a second
  computer, so that the second computer can connect to a third computer to maintain a regular
  network.




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  ANSWER:

         To the extent the allegations of paragraph 18 purport to characterize the contents of a

  written document, said document speaks for itself. AWS admits that, according to its abstract, the

  ’147 Patent purports to disclose “a method for leaving a multicast computer network.” AWS denies

  the remaining allegations of paragraph 18 of the Complaint.

         19.      On December 7, 2004, the PTO issued U.S. Patent No. 6,829,634 (the “’634
  Patent”), entitled “Broadcasting Network.” The ’634 Patent lists Fred B. Holt and Virgil E.
  Bourassa as its inventors. Attached hereto as Exhibit 4 is a true and correct copy of the ’634 Patent.

  ANSWER:

         AWS admits that the ’634 Patent lists on its face “Broadcasting Network” as its title, Fred

  B. Holt and Virgil E. Bourassa as its inventors, and December 7, 2004 as its issue date. AWS

  further admits that Acceleration Bay attached what purports to be a copy of the ’634 Patent as

  Exhibit 4 to the Complaint. AWS denies that the ’634 Patent was duly and legally issued. AWS

  denies any remaining allegations of paragraph 19 of the Complaint.

        20.      All rights title, and interest in the ’634 Patent have been assigned to Acceleration
  Bay, which is the sole owner of the ’634 Patent.

  ANSWER:

         AWS lacks knowledge or information sufficient to evaluate the truth of the allegations of

  paragraph 20, and on that basis, denies them under Fed. R. Civ. P. 8(b)(5).

         21.    On June 2, 2022, Acceleration Bay submitted statutory disclaimers with the PTO
  disclaiming Claims 1-9, 19 and 22 of the ’634 Patent.

  ANSWER:

         AWS admits that the PTO records indicate that a statutory disclaimer was filed on June 2,

  2022, disclaiming Claims 1-9, 19, and 22 of the ’634 Patent. AWS lacks knowledge or information

  sufficient to evaluate the truth of the remaining allegations of paragraph 21, and on that basis,

  denies them under Fed. R. Civ. P. 8(b)(5).


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         22.     The ’634 Patent is generally directed towards methods and systems for broadcasting
  data across a regular network. One of the ways this is accomplished is by sending data received
  from neighbor participants to other neighbor participants.

  ANSWER:

         To the extent the allegations of paragraph 22 purport to characterize the contents of a

  written document, said document speaks for itself. AWS admits that, according to its abstract, the

  ’634 Patent purports to disclose providing “a technique for broadcasting data across a network.”

  AWS denies the remaining allegations of paragraph 22 of the Complaint.

           23.    On June 21, 2005, the PTO issued U.S. Patent No. 6,910,069 (the “’069 Patent”),
  entitled “Joining a Broadcast Channel.” The ’069 Patent lists Fred B. Holt and Virgil E. Bourassa
  as its inventors. Attached hereto as Exhibit 5 is a true and correct copy of the ’069 Patent.

  ANSWER:

         AWS admits that the ’069 Patent lists on its face “Joining a Broadcast Channel” as its title,

  Fred B. Holt and Virgil E. Bourassa as its inventors, and June 21, 2005 as its issue date. AWS

  further admits that Acceleration Bay attached what purports to be a copy of the ’069 Patent as

  Exhibit 5 to the Complaint. AWS denies that the ’069 Patent was duly and legally issued. AWS

  denies any remaining allegations of paragraph 23 of the Complaint.

        24.      All rights title, and interest in the ’069 Patent have been assigned to Acceleration
  Bay, which is the sole owner of the ’069 Patent.

  ANSWER:

         AWS lacks knowledge or information sufficient to evaluate the truth of the allegations of

  paragraph 24, and on that basis, denies them under Fed. R. Civ. P. 8(b)(5).

        25.    The ’069 Patent is generally directed towards methods for adding a participant to a
  network without placing a high overhead on the underlying network.

  ANSWER:

         To the extent the allegations of paragraph 25 purport to characterize the contents of a

  written document, said document speaks for itself. AWS admits that, according to its abstract, the


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  ’069 Patent purports to disclose “a technique for adding a participant to a network.” AWS denies

  the remaining allegations of paragraph 25 of the Complaint.

          26.    The claims of the ’344, ’966, ’147, ’634, and ’069 Patents (the “Asserted Patents”)
  are directed to patent-eligible subject matter, for the reasons set forth in the Declaration of Dr.
  Michael Goodrich (“Goodrich Decl.”), attached hereto as Exhibit 6 and incorporated by reference.

  ANSWER:

         Paragraph 26 states a legal conclusion to which no response is required. To the extent the

  allegations of paragraph 26 purport to characterize the contents of a written document, said

  document speaks for itself. To the extent any response is required, AWS admits that Acceleration

  Bay attached what purports to be a copy of a document labeled “Goodrich Decl.” as Exhibit 6 to

  the Complaint. AWS denies the remaining allegations of paragraph 26 of the Complaint.

          27.     The Court previously found that the claims of the ’344, ’966, and ’634 Patents cover
  patent eligible subject matter because they “are directed to an innovative network structure for the
  distribution of data as the number of participants in a computer network is scaled.” Memorandum
  Order Denying Defendants’ Motion to Dismiss, Acceleration Bay LLC v. Take- Two Interactive
  Software, Inc. (“Take-Two”), No. 16-cv-00455-RGA, D.I. 245, at 6 (D. Del. Aug. 29, 2017),
  attached hereto as Exhibit 7. These claims “require a specific and . . . innovative structure of
  message-forwarding” and are thus “‘necessarily rooted in computer technology in order to
  overcome a problem specifically arising in the realm of computer networks.’” Id. at 7 (citation
  omitted). The claims “require a specific type of communication structure designed to improve the
  way computers communicate as participants scale.” Id. (citation omitted). They “are ‘specifically
  designed to achieve an improved technological result in conventional industry practice.” Id. at 8.
  While not directly addressed in the Court’s patent-eligibility analysis in Take-Two or in the
  Goodrich Decl., the same reasoning applies to the claims of the ’147 and ’069 Patents.

  ANSWER:

         AWS admits that paragraph 27 accurately quotes the Memorandum Order Denying

  Defendants’ Motion to Dismiss, entered as D.I. 245 in the cited Take-Two case, and that

  Acceleration Bay attached that Order as Exhibit 7 to the Complaint. AWS denies that the Court’s

  determination in that case has any preclusive effect here and reserves its right to assert that the

  Asserted Patents are invalid because they cover patent ineligible subject matter. The remaining




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   allegations of paragraph 27 state a legal conclusion to which no response is required. To the extent

   a response is required, AWS denies the remaining allegations of paragraph 27 of the Complaint.

           28.    Prior to the inventions claimed in the Asserted Patents, there was a need for
   improved networks and methods for sharing data between widely-distributed participants. It was
   impractical to have every participant directly communicate because the number of connections
   quickly becomes unmanageable and individual connections often fail or operate slowly. The
   Asserted Patents solve these problems with a very specific and inventive concept: a better network
   that serves as a broadcast channel for distribution of data among various participants. The
   broadcast channel network exists as a logical overlay to a series of point-to-point connections
   between participants. The broadcast channel is formed as an m-regular network, where each
   participant has a regular number of neighbors. Participants pass data to their neighbors in the
   network, who then forward the message to their neighbors, and so on, rather than being directly
   connected to all the participants in the network. Goodrich Decl. at ¶¶ 27-30.

   ANSWER:

           Denied.

           29.    This non-conventional overlay network structure described in the preceding
   paragraph provides tangible benefits. The structure allows for rapid and reliable dissemination of
   data through the network because each participant forwards data to a manageable subset of network
   participants. For example, in a 5-regular network, a participant sends a message to its five
   neighbors each of which forward the message to their own neighbors, thus rapidly distributing the
   message over even a large network. Data will still be rapidly delivered, even if individual
   connections fail or operate slowly, because of the alternative pathways formed by the network, i.e.
   each neighbor is the start of a potential path to all other participants. This structure is also flexible,
   allowing for participants to be added and dropped while the network is operating. Goodrich Decl.
   at ¶¶ 29-35, 74-80.

   ANSWER:

           Denied.

          30.     The Broadcast Patents cover networks for a variety of applications. The ’344 Patent
   describes “[a] [d]istributed [g]ame [e]nvironment,” which “is provided by a game application
   program executing on each player’s computer…” ’344 Patent, 16:29-34; Goodrich Decl., ¶¶ 37-
   38. Each time a player takes an action, a message representing that action can be broadcast on the
   game’s broadcast channel. Goodrich Decl., ¶ 39. The broadcast channel allows a player to send
   messages (e.g., communications or strategy information) to one or more other players. ‘344 Patent,
   16:36-43; Goodrich Decl., ¶ 39.




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   ANSWER:

          To the extent the allegations of paragraph 30 purport to characterize the contents of a

   written document, said document speaks for itself. AWS admits that paragraph 30 accurately

   quotes an excerpted portion of the cited text from the specification of the ’344 Patent but denies

   that it quotes what the ’344 Patent purportedly “cover[s].” AWS lacks knowledge or information

   sufficient to evaluate the truth of the remaining allegations of paragraph 30, including at least

   because it’s unknown which patents are included within the scope of the term “Broadcast Patents,”

   and on that basis, denies them under Fed. R. Civ. P. 8(b)(5).

           31.     The ’966 Patent provides “an information delivery service application” which
   “allows participants to monitor messages as they are broadcast on the broadcast channel.” ’966
   Patent, 16:25-28; Goodrich Decl., ¶ 42. The ’634 Patent covers “a non-routing table based method
   for broadcasting messages in a network,” where, rather than have each participant store routing-
   table information (i.e., information about non-neighboring participants in the network), each
   participant in the network implements the broadcast using information about neighboring
   participants. ’634 Patent, 2:45-67; Goodrich Decl., ¶ 45.

   ANSWER:

          To the extent the allegations of paragraph 31 purport to characterize the contents of a

   written document, said document speaks for itself. AWS admits that paragraph 31 accurately

   quotes an excerpted portion of the cited text from the specification of each of the ’966 Patent and

   the ’634 Patent but denies that either the quoted material from the ’634 Patent, or the alleged

   narrative summary of its disclosure, define what it purportedly “covers.” AWS denies the

   remaining allegations of paragraph 31 of the Complaint.

           32.     Rather than forming the network as a complete graph, which could cause
   congestion by requiring each participant to be directly connected to all other participants, requiring
   a large number of connections, (e.g., ’344 Patent, 1:44-57), the participants are connected so as to
   form an m-regular, incomplete network. Goodrich Decl., ¶ 28. This topology ensures reliability
   and scalability of the network. Id. In one example, the ’344 Patent shows “a graph that is 4-regular
   and 4-connected which represents the broadcast channel,” meaning that each participant is
   connected to four neighbors and at least four connections must be broken to prevent a participant
   from being able to communicate, at least indirectly, with all other participants. ’344 Patent, 4:48-
   49, Fig. 1 (below).


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   ANSWER:

          To the extent the allegations of paragraph 32 purport to characterize the contents of a

   written document, said document speaks for itself. AWS admits that paragraph 32 purportedly

   quotes an excerpted portion of the cited text from the specification of the ’344 Patent. AWS further

   admits that the figure above appears to be a representation of Figure 1 from the ’344 Patent. AWS

   denies the remaining allegations of paragraph 32 of the Complaint.

            33.    Network protocols are typically modeled conceptually as being partitioned into
   layers, which collectively are called the network protocol stack. Goodrich Decl., ¶ 18. Each layer
   provides a set of services and functionality guarantees for higher layers and, to the extent possible,
   each layer does not depend on details or services from higher levels. Id. To reduce complexity,
   most networks are designed with a small number of layers, from the physical layer, at the bottom,
   where computer hardware interfaces with copper wire or wireless radio, to the application layer,
   at the top, where the user interacts with the software. Id.

   ANSWER:

          Denied.

           34.    The broadcast channel is implemented through a “graph of point-to-point
   connections” that “overlays the underlying network.” E.g., ’344 Patent, 4:23-26. Importantly, the
   claimed networks establish a gaming or information delivery environment at the application level,
   rather than the underlying transport or network levels. E.g., ’344 Patent, 4:15-19 (“The logical
   broadcast channel is implemented using an underlying network system (e.g., the Internet) that
   allows each computer connected to the underlying network system to send messages to each other
   connected computer using each computer’s address.”); Goodrich Decl., ¶ 30.




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   ANSWER:

          To the extent the allegations of paragraph 33 purport to characterize the contents of a

   written document, said document speaks for itself. AWS admits that paragraph 34 accurately

   quotes excerpted portions of the cited text from the specification of the ’344 Patent but denies that

   those partial quotes fully define the requirements of “the claimed networks” in the ’344 Patent, or

   in any of the other Asserted Patents. AWS denies the remaining allegations of paragraph 34 of the

   Complaint.

           35.     Further emphasizing that the networks are implemented at the application level, the
   ’344 Patent explains that “[t]he broadcast channel is well suited for computer processes (e.g.,
   application programs) that execute collaboratively, such as network meeting programs.” ’344
   Patent, 15:17-20 (emphasis added). The patent further explains that “[t]he application program
   invokes the connect component to establish a connection to a designated broadcast channel.” Id.
   at 16:9-11 (emphasis added). Moreover, “[t]he broadcast component is invoked by the application
   program to broadcast messages in the broadcast channel.” Id. at 16:26-28 (emphasis added). With
   respect to the game environment, the patent explains that “[t]he game environment is provided by
   a game application program executing on each player’s computer that interacts with a broadcaster
   component.” Id. at 16:31-34 (emphasis added), 15:29-49; Goodrich Decl., ¶ 38.

   ANSWER:

          To the extent the allegations of paragraph 35 purport to characterize the contents of a

   written document, said document speaks for itself. AWS admits that paragraph 35 accurately

   quotes excerpted portions of the cited text from the specification of the ’344 Patent but denies that

   those quotes fully define the requirements of the claimed networks and systems in the ’344 Patent,

   or in any of the other Asserted Patents. AWS lacks knowledge or information sufficient to evaluate

   the truth of the remaining allegations of paragraph 35, including at least because it’s unknown if

   the reference to “the networks” is to those claimed in only the ’344 Patent, or if it includes those

   claimed in one or both of the ’966 Patent and the ’634 Patent, and on that basis, denies them under

   Fed. R. Civ. P. 8(b)(5).




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                  OVERVIEW OF AMAZON’S PRODUCTS AND SERVICES

           36.    Amazon offers a variety of products and services for its customers to use to provide
   Internet-based services, including broadcasting game data for online multiplayer games and for
   providing content delivery.

   ANSWER:

          To the extent “use” is a reference to 35 U.S.C. § 271, paragraph 36 states a legal conclusion

   to which no response is required. To the extent a response is required, AWS admits that it offers a

   variety of products and services to its customers and that some of its customers may utilize those

   products and services to provide Internet-based services. AWS denies the remaining allegations of

   paragraph 36 of the Complaint.

          37.     Amazon also uses the products and services for its gaming and content delivery
   services operated by its parent Amazon.com, such as Amazon Prime Video, Amazon Luna, and
   Twitch.

   ANSWER:

          To the extent “use” is a reference to 35 U.S.C. § 271, paragraph 37 states a legal conclusion

   to which no response is required. AWS admits that Amazon.com, Inc. is its parent company. To

   the extent paragraph 37 alleges this, AWS denies that Prime Video, Luna, and Twitch are AWS

   services. AWS lacks knowledge or information sufficient to form a belief about the truth of the

   remaining allegations of paragraph 37, and therefore denies them under Fed. R. Civ. P. 8(b)(5).

         38.    The following is an overview of these products and services that give rise to
   Amazon’s infringement of the Asserted Patents, as discussed in the subsequent sections of this
   complaint.

   ANSWER:

          AWS admits that Acceleration Bay purports to include certain remaining portions of the

   Complaint to provide an overview of AWS’s products and services. AWS denies the remaining

   allegations of paragraph 38 of the Complaint.




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                              AMAZON’S AMAZON WEB SERVICE

           39.     Amazon Web Service (“AWS”) is a scalable cloud infrastructure that includes
   “multiple Availability Zones connected by low latency, high throughput, and highly redundant
   networking. AWS has 84 Availability Zones within 26 geographic regions around the world.” Ex.
   8, https://aws.amazon.com/what-is-aws/.

   ANSWER:

          AWS admits that it operates a scalable cloud infrastructure. To the extent the allegations

   of paragraph 39 purport to characterize the contents of a written document, said document speaks

   for itself. AWS admits that the quoted text appears on the Exhibit 8 that Acceleration Bay attached

   to the Complaint. But AWS denies that Exhibit 8 is a true and accurate representation of the current

   version of the cited webpage. AWS denies any remaining allegations of paragraph 39 of the

   Complaint.

          40.    According to Amazon, AWS “is the world’s most comprehensive and broadly
   adopted cloud platform, offering over 200 fully featured services from data centers globally.
   Millions of customers—including the fastest-growing startups, largest enterprises, and leading
   government agencies—are using AWS to lower costs, become more agile, and innovate faster.”
   Id.

   ANSWER:

          To the extent the allegations of paragraph 40 purport to characterize the contents of a

   written document, said document speaks for itself. AWS admits that the quoted text appears on

   the current version of the cited webpage in paragraph 39 and on the Exhibit 8 that Acceleration

   Bay attached to the Complaint. But AWS denies that Exhibit 8 is a true and accurate representation

   of the current version of the cited webpage or that the statement is “according to Amazon.” AWS

   denies any remaining allegations of paragraph 40 of the Complaint.

          41.      AWS supports overlay networks. For example, Amazon publishes instructions to
   deploy a “Cohesive Networks VNS3 overlay network on the AWS Cloud in about 15 minutes,
   following best practices from AWS and Cohesive Networks” using AWS technologies, such as
   Availability Zones, Virtual Private Cloud, and Elastic Compute Cloud instances using Auto
   Scaling. Ex. 9, https://aws.amazon.com/quickstart/architecture/cohesive-networks-vns3/.



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   ANSWER:

          AWS admits that it supports Cohesive Networks VNS3 products. To the extent the

   allegations of paragraph 41 purport to characterize the contents of a written document, said

   document speaks for itself. AWS admits that the quoted text appears on the current version of the

   cited webpage and on the Exhibit 9 that Acceleration Bay attached to the Complaint. But AWS

   denies that Exhibit 9 is a true and accurate representation of the current version of the cited

   webpage. AWS denies that “Amazon publishes” the cited instructions as AWS understands the

   term “Amazon” and denies that it developed those instructions. See D.I. 1, Ex. 9, at 2 (“This Quick

   Start was developed by Cohesive Networks in collaboration with AWS. Cohesive Networks is an

   APN Partner.”). AWS denies the remaining allegations of paragraph 41 of the Complaint.

                         AMAZON’S ELASTIC KUBERNETES SERVICE

           42.     AWS includes Amazon Elastic Kubernetes Service (“EKS”), which is “a managed
   service that [customers] can use to run Kubernetes on AWS without needing to install, operate,
   and maintain [their] own Kubernetes control plane or nodes. Kubernetes is an open-source system
   for automating the deployment, scaling, and management of containerized applications.” Ex. 10 at
   1, https://docs.aws.amazon.com/eks/latest/userguide/eks-ug.pdf. Amazon EKS “[r]uns and scales
   the Kubernetes control plane across multiple AWS Availability Zones to ensure high availability,”
   “[a]utomatically scales control plane instances based on load, detects and replaces unhealthy
   control plane instances,” “[i]s integrated with many AWS services to provide scalability and
   security,” including Amazon ECR for container images, Elastic Load Balancing for load
   distribution, IAM for authentication, and Amazon VPC for isolation. Id.

   ANSWER:

          AWS admits that EKS is an AWS service. To the extent the allegations of paragraph 42

   purport to characterize the contents of a written document, said document speaks for itself. AWS

   admits that the quoted text reflects partial excerpts of the current version of the cited webpage and

   the Exhibit 10 that Acceleration Bay attached to the Complaint. But AWS denies that Exhibit 10

   is a true and accurate representation of the current version of the cited webpage. Compare D.I. 1,

   Ex.    10,    at   535     (indicating    “update-history-date”     of    April    4,    2022)    to



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   https://docs.aws.amazon.com/eks/latest/userguide/eks-ug.pdf (indicating six updates since April

   4, 2022, including two prior to July 6, 2022). AWS denies the remaining allegations of paragraph

   42 of the Complaint.

           43.    Amazon EKS utilizes a control plane and data plane architecture, of which the
   control plane “consists of at least two API server instances and three etcd instances that run across
   three     Availability    Zones       within    an     AWS      Region.”      Ex.     10     at    1,
   https://docs.aws.amazon.com/eks/latest/userguide/eks-ug.pdf.

   ANSWER:

          To the extent the allegations of paragraph 43 purport to characterize the contents of a

   written document, said document speaks for itself. AWS admits that the quoted text appears on

   the current version of the cited webpage and the Exhibit 10 that Acceleration Bay attached to the

   Complaint. But AWS denies that Exhibit 10 is a true and accurate representation of the current

   version of the cited webpage. Compare D.I. 1, Ex. 10, at 535 (indicating “update-history-date” of

   April 4, 2022) to https://docs.aws.amazon.com/eks/latest/userguide/eks-ug.pdf (indicating six

   updates since April 4, 2022, including two prior to July 6, 2022). AWS denies that the allegations

   of paragraph 43 fully describe the infrastructure of EKS. AWS denies any remaining allegations

   of paragraph 43 of the Complaint.

          44.      Amazon EKS “[a]ctively monitors the load on control plane instances and
   automatically scales them to ensure high performance,” “[a]utomatically detects and replaces
   unhealthy control plane instances, restarting them across the Availability Zones within the AWS
   Region as needed,” and “[l]everages the architecture of AWS Regions in order to maintain high
   availability.” Id. This feature is called Cluster Autoscaling.




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   Ex. 11 at 2-3, https://medium.com/kubecost/understanding-kubernetes-cluster-autoscaling-
   675099a1db92.

   ANSWER:

          To the extent the allegations of paragraph 44 purport to characterize the contents of a

   written document, said document speaks for itself. AWS admits that the quoted text appears on

   the current version of the cited webpage and the Exhibit 10 that Acceleration Bay attached to the

   Complaint. But AWS denies that Exhibit 10 is a true and accurate representation of the current

   version of the cited webpage. Compare D.I. 1, Ex. 10, at 535 (indicating “update-history-date” of

   April 4, 2022) to https://docs.aws.amazon.com/eks/latest/userguide/eks-ug.pdf (indicating six

   updates since April 4, 2022, including two prior to July 6, 2022). AWS lacks knowledge or

   information sufficient to form a belief about whether the Exhibit 11 that Acceleration Bay attached



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   to the Complaint is a true and accurate representation of the cited webpage and therefore denies

   that it is under Fed. R. Civ. P. 8(b)(5). AWS denies that the allegations of paragraph 44 accurately

   describe the infrastructure of EKS or its functionality. AWS denies any remaining allegations of

   paragraph 44 of the Complaint.

                          AMAZON’S ELASTIC CLOUD COMPUTING

            45.    Amazon’s Elastic Cloud Computing (“EC2”) “is a compute web service that offers
   secure, resizable compute capacity in the cloud. It is designed for scalable deployments and
   optimizing [customers’] workloads.” Ex. 12 at 2, https://aws.amazon.com/free/compute/lightsail-
   vs-ec2/. Using Amazon’s EC2, users can, “launch as many or as few virtual servers as [they] need,
   configure security and networking, and manage storage” and “enables [customers] to scale up or
   down to handle changes in requirements or spikes in popularity, reducing [their] need to forecast
   traffic.” Ex. 13 at 1, https://docs.aws.amazon.com/AWSEC2/latest/UserGuide/ec2-ug.pdf.

   ANSWER:

          To the extent the allegations of paragraph 45 purport to characterize the contents of a

   written document, said document speaks for itself. AWS admits that the quoted text appears on

   the current version of each of the cited webpages and on the Exhibits 12 and 13 that Acceleration

   Bay attached to the Complaint. But AWS denies that Exhibit 13 is a true and accurate

   representation of the current version of the cited webpage. Compare D.I. 1, Ex. 13, at 1874

   (indicating        “update-history-date”         of        May          31,        2022)         to

   https://docs.aws.amazon.com/AWSEC2/latest/UserGuide/ec2-ug.pdf, at 1900 (indicating four

   updates since May 31, 2022, including two prior to July 6, 2022). And AWS denies that the quoted

   text fully describes EC2 or its functionality. AWS denies any remaining allegations of paragraph

   45 of the Complaint.

                                    AMAZON’S AWS APP MESH

          46.       Amazon’s AWS App Mesh (“App Mesh”) “is a service mesh that provides
   application-level networking to make it easy for [customers’] services to communicate with each
   other across multiple types of compute infrastructure. App Mesh gives end-to-end visibility and
   high-availability for [customers’] applications.” Ex. 14 at 1, https://aws.amazon.com/app-mesh.
   App Mesh operates “with AWS Fargate, Amazon EC2, Amazon ECS, Amazon EKS, and


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   Kubernetes running on AWS, to better run [customers’] application at scale. App Mesh also
   integrates with AWS Outposts for [customers’] applications running on-premises.” Id. at 2. App
   Mesh is based on the Envoy proxy technology. Ex. 15 at 137, https://docs.aws.amazon.com/app-
   mesh/latest/userguide/app-mesh-ug.pdf.

   ANSWER:

          To the extent the allegations of paragraph 46 purport to characterize the contents of a

   written document, said document speaks for itself. AWS admits that the quoted text appears on

   the current version of the first cited webpage and on the Exhibit 14 that Acceleration Bay attached

   to the Complaint. AWS denies that Exhibit 15 is a true and accurate representation of the current

   version of the second cited webpage. Compare D.I. 1, Ex. 15, at 182 (indicating “update-history-

   date” of May 18, 2022) to https://docs.aws.amazon.com/app-mesh/latest/userguide/app-mesh-

   ug.pdf, at 185 (indicating a further update on August 18, 2022). AWS denies any remaining

   allegations of paragraph 46 of the Complaint.

           47.     [“]A service mesh is an infrastructure layer dedicated to handling service-to-service
   communication, usually through an array of lightweight network proxies deployed alongside the
   application code.[”] Id. at 1. A service mesh acts as “a logical boundary for network traffic between
   the services that reside within it. After [customers] create [a] service mesh, [they] can create virtual
   services, virtual nodes, virtual routers, and routes to distribute traffic between the applications in
   [their] mesh.” Id. at 57.

   ANSWER:

          To the extent the allegations of paragraph 47 purport to characterize the contents of a

   written document, said document speaks for itself. AWS admits that the quoted text appears on

   the current version of the second cited webpage in paragraph 46 and on the Exhibit 15 that

   Acceleration Bay attached to the Complaint. But AWS denies that Exhibit 15 is a true and accurate

   representation of the current version of the second cited webpage. Compare D.I. 1, Ex. 15, at 182

   (indicating “update-history-date” of May 18, 2022) to https://docs.aws.amazon.com/app-

   mesh/latest/userguide/app-mesh-ug.pdf, at 185 (indicating a further update on August 18, 2022).




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   And AWS denies that the quoted text fully describes the infrastructure or functionality of App

   Mesh. AWS denies any remaining allegations of paragraph 47 of the Complaint.

                                       AMAZON’S LAMBDA

           48.   Amazon’s Lambda “is a serverless, event-driven compute service that lets
   [customers] run code for virtually any type of application or backend service without provisioning
   or managing servers. [Customers] can trigger Lambda from over 200 AWS services and software
   as a service (SaaS) applications, and only pay for what [they] use.” Ex. 16 at 2,
   https://aws.amazon.com/lambda/.

   ANSWER:

          To the extent the allegations of paragraph 48 purport to characterize the contents of a

   written document, said document speaks for itself. AWS admits that the quoted text appears on

   the current version of the cited webpage and on the Exhibit 16 that Acceleration Bay attached to

   the Complaint. AWS denies that the quoted text fully describes Lambda or its functionality. AWS

   denies any remaining allegations of paragraph 48 of the Complaint.

           49.    Lambda supports built-in fault tolerance and “maintains compute capacity across
   multiple Availability Zones (AZs) in each AWS Region to help protect . . . code against individual
   machine or data center facility failures. Both . . . Lambda and the functions running on the service
   deliver predictable and reliable operational performance… Lambda is designed to provide high
   availability for both the service itself and the functions it operates.” Ex. 17 at 3,
   https://aws.amazon.com/lambda/features/?pg=ln&sec=hs.

   ANSWER:

          To the extent the allegations of paragraph 49 purport to characterize the contents of a

   written document, said document speaks for itself. AWS admits that the quoted text appears (with

   omissions) on the current version of the cited webpage and on the Exhibit 17 that Acceleration

   Bay attached to the Complaint. AWS denies that the quoted text fully describes Lambda or its

   functionality. AWS admits that Lambda includes fault tolerance features. AWS denies any

   remaining allegations of paragraph 49 of the Complaint.

         50.    Lambda “automatically scales to support the rate of incoming requests without any
   manual configuration. There is no limit to the number of requests [customers’] code can handle. .


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   . . Lambda typically starts running . . . code within milliseconds of an event. Since Lambda scales
   automatically, the performance remains consistently high as the event frequency increases. Since
   . . . code is stateless, Lambda can start as many instances as needed without lengthy deployment
   and configuration delays.” Id. at 4.

   ANSWER:

          To the extent the allegations of paragraph 50 purport to characterize the contents of a

   written document, said document speaks for itself. AWS admits that the quoted text appears (with

   omissions) on the current version of the cited webpage and on the Exhibit 17 that Acceleration

   Bay attached to the Complaint. AWS denies that the quoted text fully describes Lambda or its

   functionality. AWS denies any remaining allegations of paragraph 50 of the Complaint.

                        AMAZON’S CLOUDFRONT (LAMBDA@EDGE)

           51.    Amazon’s CloudFront “is a content delivery network (CDN) service built for high
   performance,      security,    and    developer     convenience.”     Ex.      18    at      2,
   https://aws.amazon.com/cloudfront/. CloudFront, also known as Lambda@Edge, uses “Node.js
   and Python Lambda functions to customize content that CloudFront delivers, executing the
   functions in AWS locations closer to the viewer. The functions run in response to CloudFront
   events,     without    provisioning   or    managing      servers.”   Ex.     19   at      535
   https://docs.aws.amazon.com/lambda/latest/dg/lambda-dg.pdf;               Ex.               20,
   https://docs.aws.amazon.com/AmazonCloudFront/latest/DeveloperGuide/AmazonCloudFront_D
   evGuide.pdf.

   ANSWER:

          To the extent the allegations of paragraph 51 purport to characterize the contents of a

   written document, said document speaks for itself. AWS admits that the quoted text appears on

   the current version of the first cited webpage and on the Exhibit 18 that Acceleration Bay attached

   to the Complaint. AWS denies that the quoted text from the second cited webpage and on the

   Exhibit 19 that Acceleration Bay attached to the Complaint is complete. See, e.g., D.I. 1, Ex. 19,

   at 535 (“Lambda@Edge lets you run Node.js and Python Lambda…) (emphasis added). And AWS

   denies that Exhibit 19 is a true and accurate representation of the current version of the second

   cited webpage. Compare D.I. 1, Ex. 19, at 182 (indicating “update-history-date” of May 18, 2022)



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   to https://docs.aws.amazon.com/lambda/latest/dg/lambda-dg.pdf (lacking a table entitled “AWS

   Lambda releases,” indicating Exhibit 19 doesn’t match the current version of the second cited

   webpage). AWS also denies that Exhibit 20 is a true and accurate representation of the current

   version of the cited webpage. Compare D.I. 1, Ex. 20, at cover (listing “Copyright © Amazon Web

   Services, Inc….”) to https://docs.aws.amazon.com/AmazonCloudFront/latest/DeveloperGui

   de/AmazonCloudFront_DevGuide.pdf, at cover (listing “Copyright © 2022 Amazon Web

   Services, Inc…..”). AWS is without knowledge or information relating to whether the allegations

   are supported by the citation to Exhibit 20 since Acceleration Bay didn’t cite to a specific portion

   of the over 500 pages in Exhibit 20, and therefore denies that Exhibit 20 supports the allegations

   of paragraph 51 under Fed. R. Civ. P. 8(b)(5). AWS denies that the quoted text fully describes the

   functionalities of CloudFront or Lambda@Edge. AWS denies any remaining allegations of

   paragraph 51 of the Complaint.

           52.    Amazon CloudFront “peers with thousands of Tier 1/2/3 telecom carriers globally,
   is well connected with all major access networks for optimal performance, and has hundreds of
   terabits of deployed capacity. CloudFront Edge locations are connected to the AWS Regions
   through the AWS network backbone - fully redundant, multiple 100GbE parallel fiber that circles
   the globe and links with tens of thousands of networks for improved origin fetches and dynamic
   content acceleration.” Ex. 21 at 1-2, https://aws.amazon.com/cloudfront/features/?whats-new-
   cloudfront. Amazon CloudFront includes a global network of “310+ Points of Presence (300+
   Edge locations and 13 regional mid-tier caches) in 90+ cities across 47 countries.” Id. at 2.

   ANSWER:

          To the extent the allegations of paragraph 52 purport to characterize the contents of a

   written document, said document speaks for itself. AWS admits that the quoted text appears on

   the Exhibit 21 that Acceleration Bay attached to the Complaint. AWS admits that the first portion

   of quoted text appears on the current version of the cited webpage. AWS denies that the quoted

   text fully describes the infrastructure or functionality of CloudFront. AWS denies any remaining

   allegations of paragraph 52 of the Complaint.



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                      AMAZON’S VIRTUAL PRIVATE CLOUD PEERING

           53.    Amazon’s Virtual Private Cloud Peering (“VPC Peering”) “enables [customers] to
   launch AWS resources into a virtual network that [they have] defined.” Ex. 22 at 1,
   https://docs.aws.amazon.com/vpc/latest/peering/vpc-pg.pdf. VPC Peering is a “networking
   connection between two VPCs that enables [routing] traffic between them using private IPv4
   addresses or IPv6 addresses. Instances in either VPC can communicate with each other as if they
   are within the same network. [Customers] can create a VPC peering connection between [their]
   own VPCs, or with a VPC in another AWS account. The VPCs can be in different regions (also
   known as an inter-region VPC peering connection).” Id.

   ANSWER:

          To the extent the allegations of paragraph 53 purport to characterize the contents of a

   written document, said document speaks for itself. AWS denies that the quoted text from Exhibit

   22 that Acceleration Bay attached to the Complaint is complete. See, e.g., D.I. 1, Ex. 22, at 1 (“A

   VPC Peering connection is a networking connection between two VPCs that enables you to route

   traffic…”) (emphasis added). AWS denies that the quoted text fully describes the infrastructure or

   functionality of VPC Peering. AWS denies any remaining allegations of paragraph 53 of the

   Complaint.

           54.    VPC peering occurs across “different AWS Regions (also called inter-Region VPC
   peering). This allows VPC resources including EC2 instances, Amazon RDS databases and
   Lambda functions that run in different AWS Regions to communicate with each other using private
   IP addresses, without requiring gateways, VPN connections, or separate network
   appliances… Traffic always stays on the global AWS backbone, and never traverses the public
   internet, which reduces threats, such as common exploits, and DDoS attacks.” Id.

   ANSWER:

          To the extent the allegations of paragraph 54 purport to characterize the contents of a

   written document, said document speaks for itself. AWS denies that the quoted text from Exhibit

   22 that Acceleration Bay attached to the Complaint is complete. See, e.g., D.I. 1, Ex. 22, at 1 (“You

   can establish peering relationships between VPCs across different AWS Regions .…”) (emphasis

   added). AWS denies that the quoted text fully describes the infrastructure or functionality of VPC

   Peering. AWS denies any remaining allegations of paragraph 54 of the Complaint.


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           55.    VPC peering results in “point-to-point connectivity” of VPCs using “full
   bidirectional connectivity between the VPCs. This peering connection is used to route traffic
   between the VPCs. VPCs across accounts and AWS Regions can also be peered together.” Ex. 23
   at     4,    https://docs.aws.amazon.com/whitepapers/latest/building-scalable-secure-multi-vpc-
   network-infrastructure/building-scalable-secure-multi-vpc-network-infrastructure.pdf#welcome.

   ANSWER:

          To the extent the allegations of paragraph 55 purport to characterize the contents of a

   written document, said document speaks for itself. AWS admits that the quoted text appears on

   Exhibit 23 that Acceleration Bay attached to the Complaint but denies that the quoted text appears

   as paragraph 55 alleges. AWS also denies that Exhibit 23 is a true and accurate representation of

   the current version of the cited webpage. Compare D.I. 1, Ex. 23, at 41 (indicating “update-history-

   date” of February 22, 2022) to https://docs.aws.amazon.com/whitepapers/latest/building-scalable-

   secure-multi-vpc-network-infrastructure/building-scalable-secure-multi-vpc-network-

   infrastructure.pdf#welcome, at 44 (indicating a further update on July 19, 2022). And AWS denies

   that the quoted text fully describes the infrastructure or functionality of VPC Peering. AWS denies

   any remaining allegations of paragraph 55 of the Complaint.

          56.     Interconnecting multiple VPCs (e.g., tens to hundreds) at scale “results in a mesh
   of hundreds to thousands of peering connections.” For example, 100 VPCs in a full mesh peering
   configuration would require “4,950 peering connections [n(n-1)/2] where n=total number of
   VPCs.” Id. However, the VPCs are limited to 125 connections, making the network incomplete.




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   Id.

   ANSWER:

          To the extent the allegations of paragraph 56 purport to characterize the contents of a

   written document, said document speaks for itself. AWS denies that the quoted text from Exhibit

   23 that Acceleration Bay attached to the Complaint is complete. See, e.g., D.I. 1, Ex. 23, at 4 (“At

   scale, when you have tens to hundreds of VPCs, interconnecting them with peering results in a

   mesh of hundreds to thousands of peering connections, which are difficult to manage and scale…”)

   (emphasis added on omitted portion). AWS also denies that Exhibit 23 is a true and accurate

   representation of the current version of the cited webpage in paragraph 55. Compare D.I. 1, Ex.

   23,    at    41    (indicating    “update-history-date”      of    February     22,    2022)      to

   https://docs.aws.amazon.com/whitepapers/latest/building-scalable-secure-multi-vpc-network-

   infrastructure/building-scalable-secure-multi-vpc-network-infrastructure.pdf#welcome,       at   44

   (indicating a further update on July 19, 2022). AWS denies that the quoted text or the narrative


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   portions of the allegations in paragraph 56 fully describe the infrastructure or functionality of VPC

   Peering. AWS denies any remaining allegations of paragraph 56 of the Complaint.

                            AMAZON’S ELASTIC LOAD BALANCING

            57.    Amazon’s Elastic Load Balancing (“ELB”) “automatically distributes . . . incoming
   traffic across multiple targets, such as EC2 instances, containers, and IP addresses, in one or more
   Availability Zones. It monitors the health of its registered targets, and routes traffic only to the
   healthy targets. Elastic Load Balancing scales [customers’] load balancer as [their] incoming
   traffic changes over time. It can automatically scale to the vast majority of workloads. Elastic Load
   Balancing supports the following load balancers: Application Load Balancers, Network Load
   Balancers, Gateway Load Balancers, and Classic Load Balancers. [Customers] can select the type
   of     load     balancer      that    best    suits     [their]    needs.”     Ex.    24     at    1,
   https://docs.aws.amazon.com/elasticloadbalancing/latest/network/elb-ng.pdf.

   ANSWER:

          AWS admits that ELB is an AWS service. To the extent the allegations of paragraph 57

   purport to characterize the contents of a written document, said document speaks for itself. AWS

   admits that the quoted text appears on the current version of the cited webpage and on the Exhibit

   24 that Acceleration Bay attached to the Complaint. AWS denies that the quoted text fully

   describes the infrastructure or functionality of ELB. AWS denies any remaining allegations of

   paragraph 57 of the Complaint.

           58.     ELB operates with Availability Zones to balance network traffic among multiple
   nodes. ELB supports creation of “a load balancer node in the Availability Zone. By default, each
   load balancer node distributes traffic across the registered targets in its Availability Zone only. If
   [customers] enable cross-zone load balancing, each load balancer node distributes traffic across
   the registered targets in all enabled Availability Zones.” Id.

   ANSWER:

          To the extent the allegations of paragraph 58 purport to characterize the contents of a

   written document, said document speaks for itself. AWS denies that the quoted text from Exhibit

   24 that Acceleration Bay attached to the Complaint is complete. See, e.g., D.I. 1, Ex. 24, at 1

   (“When you enable an Availability Zone for the load balancer, Elastic Load Balancing creates a

   load balancer node…”) (emphasis added). AWS denies that the quoted text fully describes the


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   infrastructure or functionality of ELB. AWS denies any remaining allegations of paragraph 58 of

   the Complaint.

                            AMAZON’S LUMBERYARD AND O3DE

           59.    Amazon’s Lumberyard is a game engine that “allows [customers] to create high-
   quality games, connect [their] games to the compute and storage of the AWS Cloud, and engage
   fans            on             Twitch.”           Ex.            25           at          1,
   https://docs.aws.amazon.com/lumberyard/latest/userguide/lumberyard-ug.pdf. Amazon Open 3d
   Engine (“O3DE”) is the successor to Lumberyard.

   ANSWER:

          AWS admits that Lumberyard is an AWS service and that O3DE is the successor to

   Lumberyard. To the extent the allegations of paragraph 59 purport to characterize the contents of

   a written document, said document speaks for itself. AWS admits that the quoted text appears on

   the cited webpage and on the Exhibit 25 that Acceleration Bay attached to the Complaint. AWS

   denies that the quoted text fully describes the functionality of Lumberyard. AWS denies any

   remaining allegations of paragraph 59 of the Complaint.

           60.     Amazon Lumberyard and O3DE both support P2P (Peer-to-Peer) configurations.
   Id. at 2011-12.

   ANSWER:

          To the extent the allegations of paragraph 60 purport to characterize the contents of a

   written document, said document speaks for itself. AWS admits that Lumberyard and O3DE allow

   game developers to create games that support P2P (Peer-to-Peer) full mesh topologies but denies

   that is the sole supported topology. See D.I. 1, Ex. 25, at 2011-2012 (“Lumberyard provides a

   network layer that supports a wide variety of game types on multiple operating systems and does

   not restrict game developers to using any particular network topology. You are able to create

   games using three network topologies: P2P full mesh, client/server, and a hybrid mode that




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   consists of a full mesh network connected to a client/server network…”) (emphasis added). AWS

   denies any remaining allegations of paragraph 60 of the Complaint.

         61.     Amazon Lumberyard includes GridMate, which is a “robust and flexible
   networking solution designed for efficient bandwidth usage and low-latency communications.
   [Customers] can synchronize objects over the network with GridMate’s replica framework.
   GridMate’s session management can be integrated with major online console services and helps
   … handle peer-to-peer and client-server topologies with host migration.” Id. at 2-3.

   ANSWER:

          AWS admits that Lumberyard and GridMate are AWS services or functionalities. To the

   extent the allegations of paragraph 61 purport to characterize the contents of a written document,

   said document speaks for itself. AWS denies that the quoted text from the current version of the

   cited webpage in paragraph 59 and on the Exhibit 25 that Acceleration Bay attached to the

   Complaint is complete. See, e.g., D.I. 1, Ex. 25, at 2 (“GridMate’s session management can be

   integrated with major online console services and helps you handle peer-to-peer and client-server

   topologies with host migration.”) (emphasis added). AWS denies that the quoted text fully

   describes the infrastructure or functionality of Lumberyard or of GridMate. AWS denies any

   remaining allegations of paragraph 61 of the Complaint.

           62.   Amazon GridMate facilitates communications for Lumberyard, including
   ordered/unordered messaging, reliable/unreliable messaging, fragmenting messages, encryption,
   and channels on which to divide different types of traffic. Ex. 27,
   https://aws.amazon.com/blogs/gametech/building-battle-tested-network-transport/.

   ANSWER:

          To the extent the allegations of paragraph 62 purport to characterize the contents of a

   written document, said document speaks for itself. AWS denies that the narrative in paragraph 62

   accurately or fully summarizes the features GridMate implements as shown on Exhibit 27. AWS

   denies any remaining allegations of paragraph 62 of the Complaint.

          63.    Amazon Lumberyard includes a messaging system called EBus (“Event Bus”),
   which is used as a broadcast communication channel between different systems. Ex. 28 at 7-8,


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   https://docs.aws.amazon.com/lumberyard/latest/welcomeguide/lumberyard-wg.pdf.      Amazon
   Lumberyard supports “new levels of interactivity between Twitch streamers and viewers with
   Twitch ChatPlay.” Id. at 3. EventBus gives “Twitch streamers dynamic real-time broadcast
   customization options with Twitch Metastream [and enables] direct engagement between Twitch
   streamers and viewers with Twitch JoinIn.” Id.

   ANSWER:

          AWS admits that Lumberyard and Event Bus are AWS services or functionalities. To the

   extent the allegations of paragraph 63 purport to characterize the contents of a written document,

   said document speaks for itself. AWS denies that the quoted text from Exhibit 28 that Acceleration

   Bay attached to the Complaint is complete. See, e.g., D.I. 1, Ex. 24, at 1 (“[L]evels of interactivity

   between Twitch streamers and viewers with Twitch ChatPlay.”) (emphasis added). AWS denies

   that the quoted text fully describes the infrastructures or functionalities of Lumberyard or Event

   Bus. AWS denies any remaining allegations of paragraph 63 of the Complaint.

                                       AMAZON’S GAMELIFT

           64.    Amazon GameLift is a game hosting solution that operates on Amazon AWS for
   session-based,          multiplayer         games.        Ex.         26        at       1,
   https://docs.aws.amazon.com/gamelift/latest/developerguide/gamelift-dg.pdf. Amazon GameLift
   “helps deliver high-performance, high-reliability, low-cost game servers while dynamically
   scaling [customers’] resource usage to meet worldwide player demand.” Id.

   ANSWER:

          To the extent the allegations of paragraph 64 purport to characterize the contents of a

   written document, said document speaks for itself. AWS denies that the full quoted text appears

   on the cited webpage or the Exhibit 26 that Acceleration Bay attached to the Complaint. AWS

   denies the remaining allegations of paragraph 64 of the Complaint.

          65.       Amazon GameLift operates on Amazon EC2 resources, called instances, to deploy
   game servers, as well as supporting VPC peering. Id. at 55, 106-09. Amazon GameLift supports
   FlexMatch, which is a matchmaking service for multiplayer games that operate on peer-to-peer
   services. Id. at 280-81.




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   ANSWER:

          To the extent the allegations of paragraph 65 purport to characterize the contents of a

   written document, said document speaks for itself. AWS admits that GameLift may use an EC2

   instance to allow a customer to deploy the customer’s game server. AWS admits FlexMatch is a

   matchmaking feature supported by GameLift. AWS denies the remaining allegations of paragraph

   65 of the Complaint.

          66.     Amazon GameLift fleets support autoscaling to increase and decrease server
   instances based on game activity. Id. at 132-37.

   ANSWER:

          To the extent the allegations of paragraph 66 purport to characterize the contents of a

   written document, said document speaks for itself. AWS admits that GameLift allows a customer

   to deploy instances to run the customer’s game server and the customer may optionally permit

   auto-scaling to adjust the customer’s game hosting capacity. AWS denies the remaining allegations

   of paragraph 66 of the Complaint.

                                AMAZON’S LUNA AND TWITCH

         67.    Amazon Luna is a cloud gaming platform developed and operated by Amazon.com.
   Amazon Luna allows subscribers to play a variety of videogames on multiples devices. Amazon
   Luna operates on AWS. Ex. 29, https://techcrunch.com/2020/09/24/amazon-announces-luna-
   game-streaming-platform/ (“[t]he whole service is powered by AWS”).

   ANSWER:

          To the extent the allegations of paragraph 67 purport to characterize the contents of a

   written document, said document speaks for itself. AWS admits that Luna utilizes or has utilized

   various AWS services. AWS lacks knowledge or information sufficient to form a belief about

   whether the Exhibit 29 that Acceleration Bay attached to the Complaint is a true and accurate

   representation of the cited webpage and therefore denies that it is under Fed. R. Civ. P. 8(b)(5).




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   AWS lacks knowledge or information sufficient to form a belief about the truth of the remaining

   allegations of paragraph 67, and therefore denies them under Fed. R. Civ. P. 8(b)(5).

            68.   Amazon Twitch is “a live content streaming video-platform that allows gamers to
   stream their games for others to watch while they play.” Ex. 30,
   https://rohan6820.medium.com/aws-case-study-twitch-324ecf8288aa. AWS hosts and delivers
   content for Twitch, and uses other Amazon services, such as CloudFront, EC2, Elastic Load
   Balancer, Rekognition, and S3. Id.

   ANSWER:

          To the extent the allegations of paragraph 68 purport to characterize the contents of a

   written document, said document speaks for itself. AWS admits that Twitch utilizes or has utilized

   various AWS services. AWS lacks knowledge or information sufficient to form a belief about

   whether the Exhibit 30 that Acceleration Bay attached to the Complaint is a true and accurate

   representation of the cited webpage and therefore denies that it is under Fed. R. Civ. P. 8(b)(5).

   AWS lacks knowledge or information sufficient to form a belief about the truth of the remaining

   allegations of paragraph 68, and therefore denies them under Fed. R. Civ. P. 8(b)(5).

        69.    Amazon Twitch includes Twitch software applications that operates [sic] on
   Windows, Android and iOS platforms. Ex. 31, https://www.twitch.tv/downloads.

   ANSWER:

          To the extent the allegations of paragraph 69 purport to characterize the contents of a

   written document, said document speaks for itself. AWS lacks knowledge or information sufficient

   to form a belief about whether the Exhibit 31 that Acceleration Bay attached to the Complaint is a

   true and accurate representation of the cited webpage and therefore denies that it is under Fed. R.

   Civ. P. 8(b)(5). AWS lacks knowledge or information sufficient to form a belief about the truth of

   the remaining allegations of paragraph 69, and therefore denies them under Fed. R. Civ. P. 8(b)(5).

           70.   Amazon Luna integrates with Amazon Twitch, which can be used to broadcast
   directly to Amazon Twitch from Amazon Luna using AWS. Ex. 38,
   https://www.amazon.com/gp/help/customer/display.html?nodeID=GEZHHTM8ZRSZRQQC
   (“Broadcast Directly to Twitch Using Amazon Luna.”).


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   ANSWER:

          To the extent the allegations of paragraph 70 purport to characterize the contents of a

   written document, said document speaks for itself. AWS lacks knowledge or information sufficient

   to form a belief about whether the Exhibit 38 that Acceleration Bay attached to the Complaint is a

   true and accurate representation of the cited webpage because the cited webpage is inaccessible

   and therefore denies that it is under Fed. R. Civ. P. 8(b)(5). AWS lacks knowledge or information

   sufficient to form a belief about the truth of the remaining allegations of paragraph 70, and

   therefore denies them under Fed. R. Civ. P. 8(b)(5).

                              AMAZON’S AMAZON PRIME VIDEO

           71.    Amazon Prime Video is Amazon.com’s video delivery streaming service which
   operates on Amazon AWS. Ex. 32 at 2, https://aws.amazon.com/solutions/case-studies/amazon-
   prime-video/ (“Amazon Prime Video uses the Amazon Web Service (AWS) Cloud as the
   underlying technology for all its services.”). Amazon Prime Video also utilizes AWS Elemental,
   “an Amazon Web Services company that combines deep video expertise with the power and scale
   of the cloud to empower media companies to deliver premium video experiences to consumers,”
   for live encoding, packaging, and ad insertion for NFL Football streaming. Id.

   ANSWER:

          To the extent the allegations of paragraph 71 purport to characterize the contents of a

   written document, said document speaks for itself. AWS admits that the quoted text appears on

   the cited webpage that Acceleration Bay attached as Exhibit 32 to the Complaint. AWS admits

   that Prime Video utilizes or has utilized AWS services, including in certain instances AWS

   Elemental services. AWS denies that the narrative portion of paragraph 71 accurately describes

   the use of AWS services by Prime Video. AWS lacks knowledge or information sufficient to form

   a belief about the truth of the remaining allegations of paragraph 71, and therefore denies them

   under Fed. R. Civ. P. 8(b)(5).

         72.     Amazon Prime Video also utilizes AWS Elemental MediaTailor, “which is used to
   monetize video content through the insertion of targeted advertising,” and Amazon DynamoDB,



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   “which Amazon Prime Video uses as the key value store for the streaming platform” for high
   scalability and performance to support “more than 300,000 video clients.” Id. at 2-3.

   ANSWER:

          To the extent the allegations of paragraph 72 purport to characterize the contents of a

   written document, said document speaks for itself. AWS admits that the quoted text appears on

   the cited webpage in paragraph 71 that Acceleration Bay attached as Exhibit 32 to the Complaint.

   AWS admits that Prime Video utilizes or has utilized AWS services, including in certain instances

   AWS Elemental MediaTailor and DynamoDB. AWS denies that the narrative portion of paragraph

   72 fully describes the use of AWS services by Prime Video. AWS lacks knowledge or information

   sufficient to form a belief about the truth of the remaining allegations of paragraph 72, and

   therefore denies them under Fed. R. Civ. P. 8(b)(5).

         73.     Amazon Prime Video is based on additional AWS services, such as “Amazon
   CloudFront for delivering video with low latency to a global viewership, and Amazon Elastic
   Compute Cloud (Amazon EC2) for managing compute capacity.” Id. at 3.

   ANSWER:

          To the extent the allegations of paragraph 73 purport to characterize the contents of a

   written document, said document speaks for itself. AWS admits that the quoted text appears on

   the cited webpage in paragraph 71 that Acceleration Bay attached as Exhibit 32 to the Complaint.

   AWS admits that Prime Video utilizes or has utilized AWS services, including in certain instances

   CloudFront and EC2. AWS denies that the narrative portion of paragraph 73 fully describes the

   use of AWS services by Prime Video. AWS lacks knowledge or information sufficient to form a

   belief about the truth of the remaining allegations of paragraph 73, and therefore denies them under

   Fed. R. Civ. P. 8(b)(5).

          74.   Amazon Prime Video streams to clients via the Amazon Prime Video app, which
   supports “more than 600 types of TVs, mobile devices, game consoles, set-top boxes, and
   connected devices.” Id. Amazon Prime Video also “recently launched CBS All Access, which



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   gives Amazon Prime Video subscribers access to hundreds of live local channels across the United
   States.” Id. at 4.

   ANSWER:

          To the extent the allegations of paragraph 74 purport to characterize the contents of a

   written document, said document speaks for itself. AWS denies that the quoted text from the cited

   webpage and on the Exhibit 32 that Acceleration Bay attached to the Complaint is complete. See,

   e.g., D.I. 1, Ex. 32, at 3 (“Fans watched the games via the Amazon Prime Video app on more than

   600 types of TVs, mobile devices, game consoles, set-top boxes, and connected devices…)

   (emphasis added). AWS denies that the narrative allegations of paragraph 74 accurately describe

   how data is streamed to clients. AWS lacks knowledge or information sufficient to form a belief

   about the truth of the remaining allegations of paragraph 74, and therefore denies them under Fed.

   R. Civ. P. 8(b)(5).

            AMAZON’S INFRINGEMENT OF ACCELERATION BAY’S PATENTS

          75.       Amazon has been and is now infringing, and will continue to infringe, the Asserted
   Patents in this Judicial District and elsewhere in the United States by, among other things, making,
   using, importing, selling, and offering for sale AWS alone or in combination with Amazon
   Lumberyard, O3DE, Amazon Luna, Amazon Prime, Amazon Twitch, GameLift, Gridmate, EC2,
   EKS, CloudFront, VPC Peering, App Mesh, and Lambda (the “Accused Products”).

   ANSWER:

          Denied.

            76.     Amazon directly infringes the Asserted Patents pursuant to 35 U.S.C. § 271(a),
   either literally or under the doctrine of equivalents, or both.

   ANSWER:

          Denied.

           77.    Amazon also indirectly infringes the Asserted Patents by encouraging, instructing,
   directing, and requiring others, including its customers, purchasers, users, and developers, to
   perform the steps of the method claims of the Asserted Patents and to make and use the systems
   of the system claims of the Asserted Patents, either literally or under the doctrine of equivalents,
   or both.


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   ANSWER:

          Denied.

           78.    Amazon is aware of the Asserted Patents and knew or was willfully blind to its
   infringement of the Asserted Patents. Despite this knowledge or willful blindness, Amazon has
   acted with blatant and egregious disregard for Acceleration Bay’s patent rights with an objectively
   high likelihood of infringement.

   ANSWER:

          Denied.

          79.     On March 13, 2019, Acceleration Bay sent a letter to Amazon notifying it that at
   least Amazon and AWS’ CloudFront were and are infringing Acceleration Bay’s patents, including
   the ’966 Patent, ’147 Patent, ’634 Patent, ’069 Patent, and ’497 Patent.

   ANSWER:

          AWS admits that it received a letter from Acceleration Bay bearing a date of March 13,

   2019. To the extent the allegations of paragraph 79 purport to characterize the contents of a written

   document, said document speaks for itself. AWS denies the remaining allegations of paragraph 79

   of the Complaint.

          80.         In addition to notifying Amazon of its infringement, Acceleration Bay offered
   to negotiate a license with Amazon for its use of the Asserted Patents.

   ANSWER:

          Denied.

          81.    Amazon did not address Acceleration Bay’s allegations of infringement and did not
   respond to Acceleration Bay’s proposal to negotiate a license to the Asserted Patents.

   ANSWER:

          Denied.

        82.      Despite Amazon’s knowledge of the Asserted Patents and of its infringement,
   Amazon continued to infringe the Asserted Patents.

   ANSWER:

          Denied.


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           83.   Amazon has not identified to Acceleration Bay any efforts that it has taken to avoid
   infringement of the Asserted Patents and Acceleration Bay has not seen any evidence of any
   attempts by Amazon to lessen its infringement. Therefore, on information and belief, Amazon has
   undertaken no efforts to avoid infringement of the Asserted Patents, despite Amazon’s knowledge
   and understanding that its products and services infringe these patents.

   ANSWER:

          AWS denies the allegations in Paragraph 83, including without limitation because it

   doesn’t infringe the Asserted Patents.

          84.    Thus, Amazon’s infringement of the Asserted Patents is willful and egregious,
   warranting enhancement of damages.

   ANSWER:

          Denied.

        AMAZON’S ACCUSED NETWORKS ARE M-REGULAR AND INCOMPLETE

          85.     Amazon’s AWS include networks which are m-regular and incomplete.

   ANSWER:

          Denied.

         86.        Acceleration Bay tested AWS and observed that AWS networks are m-regular and
   incomplete.

   ANSWER:

          AWS denies that its networks are m-regular and incomplete. AWS lacks knowledge or

   information sufficient to form a belief about the truth of the remaining allegations of paragraph

   86, and therefore denies them under Fed. R. Civ. P. 8(b)(5).

           87.    AWS publishes its current IP address ranges, in the form of a JSON file, which
   Acceleration Bay used in its testing to collect data. Ex. 33 at 932,
   https://docs.aws.amazon.com/general/latest/gr/aws-general.pdf.

   ANSWER:

          To the extent the allegations of paragraph 87 purport to characterize the contents of a

   written document, said document speaks for itself. AWS admits that it publishes some current IP


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   address ranges in JSON format that can be accessed on the cited webpage. AWS lacks knowledge

   or information sufficient to form a belief about the truth of the remaining allegations of paragraph

   87, and therefore denies them under Fed. R. Civ. P. 8(b)(5).

          88.    Attached as Exhibit 39 is a visual graph of the AWS network operating on
   CloudFront, which shows a large set of m-regular networks where m is between 3 and 9, with each
   separate network distinguishable by the color corresponding to the m value for that network.
   Acceleration Bay collected this data by mapping the connections between thousands of nodes in
   the AWS network.

   ANSWER:

          To the extent the allegations of paragraph 88 purport to characterize the contents of a

   written document, said document speaks for itself. AWS denies that CloudFront utilizes one or

   more m-regular networks. AWS lacks knowledge or information sufficient to form a belief about

   the truth of the remaining allegations of paragraph 88, and therefore denies them under Fed. R.

   Civ. P. 8(b)(5).

           89.     The AWS network is incomplete because not all peers are connected, as reflected
   in the data collected by Acceleration Bay and as shown in Exhibit 39.

   ANSWER:

          Denied.

           90.    The AWS network uses peer-to-peer connections to connect the participating nodes
   in a network. Shown below is an example of an m-regular peer-to-peer network using VPC
   peering. This VPC peering network overlays an underlying TCP/IP network. The depicted network
   is m-regular but not incomplete. On information and belief and based on the experimental data
   collected above, the actual VPC peering networks are both incomplete and m-regular.




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   Ex. 22 at 31, https://docs.aws.amazon.com/vpc/latest/peering/vpc-pg.pdf.

   ANSWER:

          To the extent the allegations of paragraph 90 purport to characterize the contents of a

   written document, said document speaks for itself. AWS admits that the depicted network is not

   incomplete. AWS denies the remaining allegations of paragraph 90 of the Complaint.

          91.    Shown below is an m-regular, peer-to-peer network using VPC peering. This VPC
   peering network overlays an underlying TCP/IP network.




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   Ex. 34 at Slide 42,               https://www.slideshare.net/AmazonWebServices/awsnetworking-
   fundamentals-175148608.

   ANSWER:

             To the extent the allegations of paragraph 91 purport to characterize the contents of a

   written document, said document speaks for itself. AWS lacks knowledge or information sufficient

   to form a belief about whether the Exhibit 34 that Acceleration Bay attached to the Complaint is a

   true and accurate representation of the cited webpage and therefore denies that it is under Fed. R.

   Civ. P. 8(b)(5). AWS denies any remaining allegations of paragraph 91 of the Complaint.

                                                COUNT I
                                 (Direct Infringement of the ‘344 Patent)

           92.     Acceleration Bay repeats, realleges, and incorporates by reference, as if fully set
   forth herein, the allegations of the preceding paragraphs, as set forth above.

   ANSWER:

             AWS repeats the responses contained in paragraphs 1-91 of this Answer as if fully set forth

   herein.

           93.     Amazon has infringed and continues to infringe at least Claim 21 of the ’344 Patent
   in violation of 35 U.S.C. § 271(a).




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   ANSWER:

          Denied.

          94.      Amazon’s infringement is based upon literal infringement or infringement under
   the doctrine of equivalents, or both.

   ANSWER:

          Denied.

          95.    Amazon’s acts of making, using, importing, selling, and offering for sale the
   Accused Products has been without the permission, consent, authorization, or license of
   Acceleration Bay.2

   ANSWER:

          Denied.

          96.     To the extent specific components are provided by or steps performed by Amazon’s
   customers or partners, Amazon directs and controls the systems and methods of the claims and
   obtains benefits from the control of the system as a whole, such that those components are put into
   use by Amazon and the steps are deemed to be performed by Amazon. Moreover, Amazon is the
   final assembler of the infringing system because it controls, assembles, and combines the
   components to form the infringing system.

   ANSWER:

          Denied.

            97.     The Accused Products include a computer network for providing a game
   environment for a plurality of gaming participants, each gaming participant having connections to
   at least three neighbor gaming participants. Amazon Lumberyard, O3DE, GameLift, and Amazon
   Twitch operating on AWS provide a game environment for multiplayer games with up to 200
   participants. Ex. 26 at 1-2, https://docs.aws.amazon.com/gamelift/latest/developerguide/gamelift-
   dg.pdf. Amazon Lumberyard and O3DE include GridMate, which facilitates communications for
   Lumberyard, including ordered/unordered messaging, reliable/unreliable messaging, fragmenting
   messages, encryption, and channels on which to divide different types of traffic. Ex. 27,
   https://aws.amazon.com/blogs/gametech/building-battle-tested-network-transport/. Amazon also
   uses AWS to provide its Amazon Luna service and its Amazon Luna over Amazon Twitch service.




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     Paragraphs 95 and 96 are shown in highlighted text in the Complaint. Dkt. No. 1, at 24. AWS
   has removed the highlighting from its reproduction of those paragraphs for purposes of its
   response.

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   ANSWER:

          To the extent the allegations of paragraph 97 purport to characterize the contents of a

   written document, said document speaks for itself. AWS admits that Lumberyard, O3DE, and

   GridMate are AWS services or functionalities. AWS admits that Luna and Twitch utilize or have

   utilized various AWS services. AWS admits that it provides services that allow customers to

   provide one or more game environments for one or more gaming participants. AWS denies the

   remaining allegations of paragraph 97 of the Complaint.

           98.    The Accused Products send gaming data from an originating gaming participant to
   the other gaming participants by sending the gaming data through each of its connections to its
   neighbor gaming participants and wherein each gaming participant sends gaming data that it
   receives from a neighbor gaming participant to its other neighbor gaming participants. For
   example, Amazon GridMate facilitates communications for Lumberyard, including
   ordered/unordered messaging, reliable/unreliable messaging, fragmenting messages, encryption,
   and channels on which to divide different types of traffic. Id. Additionally, Amazon Lumberyard
   includes a messaging system called EBus (“Event Bus”), which is used as a broadcast
   communication      channel      between      different      systems.     Ex.    28    at   7-8,
   https://docs.aws.amazon.com/lumberyard/latest/welcomeguide/lumberyard-wg.pdf.

   ANSWER:

          To the extent the allegations of paragraph 98 purport to characterize the contents of a

   written document, said document speaks for itself. AWS admits that Lumberyard, GridMate, and

   Event Bus are AWS services or functionalities. AWS admits that it provides services that allow

   customers to send gaming data. AWS denies the remaining allegations of paragraph 98 of the

   Complaint.

          99.     As discussed above, the Accused Products use m-regular networks, where m is
   the exact number of neighbor gaming participants of each gaming participant and the number of
   gaming participants is at least two greater than m thus resulting in a non-complete graph. The
   connections between the gaming participants are peer-to-peer connections.

   ANSWER:

          Denied.




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           100. The Accused Products’ network is formed through a broadcast channel that
   overlays an underlying network.            For example, Accused Products use the
   broadcastGroupMembershipUpdate() function to form the network, which “[t]riggers delivery of
   an updated group membership list to player group. Specify which membership to broadcast
   (groupIdToBroadcast) and the group to receive the update (targetGroupId).” Ex. 26 at 225-26,
   https://docs.aws.amazon.com/gamelift/latest/developerguide/gamelift-dg.pdf.

   ANSWER:

          To the extent the allegations of paragraph 100 purport to characterize the contents of a

   written document, said document speaks for itself. AWS admits that it provides services that allow

   a customer to retrieve a list of group membership for a player group using

   broadcastGroupMembershipUpdate(). AWS admits that the quoted text appears on the current

   version of the cited webpage and on the Exhibit 26 that Acceleration Bay attached to the Complaint

   but denies that the quoted text appears conjunctively. AWS also denies that Exhibit 26 is a true

   and accurate representation of the current version of the cited webpage. Compare D.I. 1, Ex. 26,

   at    ii    (listing    “Copyright      ©     Amazon       Web       Services,        Inc….”)     to

   https://docs.aws.amazon.com/gamelift/latest/developerguide/gamelift-dg.pdf       at     ii   (listing

   “Copyright © 2022 Amazon Web Services, Inc…..”). And AWS denies that the quoted text fully

   describes the infrastructure or functionality of any Accused Product. AWS denies any remaining

   allegations of paragraph 100 of the Complaint.

           101. The Accused Products’ game environment is provided by at least one game
   application program executing on each computer of the computer network that interacts with the
   broadcast channel and gaming participants can join and leave the network using the broadcast
   channel. For example, Amazon’s “Twitch Plays Pokémon” is a game application program which
   is based on Amazon Lumberyard and executes on each computer of the computer network. Ex.
   35,     https://arstechnica.com/gaming/2016/02/amazon-games-launches-free-game-engine-with-
   native-twitch-integration/. Amazon Lumberyard includes a “Twitch JoinIn feature that will allow
   for multiplayer games where Twitch broadcasters can instantly invite viewers to join them side-
   by-side in a session.” Id.




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   ANSWER:

          To the extent the allegations of paragraph 101 purport to characterize the contents of a

   written document, said document speaks for itself. AWS admits that Lumberyard is an AWS

   service. AWS admits that it provides services that allow a customer to provide a game

   environment. AWS lacks knowledge or information sufficient to form a belief about whether the

   Exhibit 35 that Acceleration Bay attached to the Complaint is a true and accurate representation

   of the cited webpage and therefore denies that it is under Fed. R. Civ. P. 8(b)(5). AWS lacks

   knowledge or information sufficient to form a belief about the truth of the remaining allegations

   of paragraph 101, and therefore denies them under Fed. R. Civ. P. 8(b)(5).

            102. Additionally, Amazon GameLift “replaces the work required [for customers] to
   host . . . custom game servers, including buying and setting up hardware, and managing ongoing
   activity, security, storage, and performance tracking. Auto-scaling capabilities provide additional
   protection from having to pay for more resources than [the customers] need, while making sure
   [they] always have games available for new players to join with minimal waiting.” Ex. 26 at 1-2,
   https://docs.aws.amazon.com/gamelift/latest/developerguide/gamelift-dg.pdf.

   ANSWER:

          To the extent the allegations of paragraph 102 purport to characterize the contents of a

   written document, said document speaks for itself. AWS admits that GameLift is an AWS service

   or functionality. AWS denies that the full quoted text appears on the cited webpage or the Exhibit

   26 that Acceleration Bay attached to the Complaint. AWS denies that the quoted text fully

   describes the infrastructure or functionality of GameLift. AWS denies any remaining allegations

   of paragraph 102 of the Complaint.

           103.     Amazon’s infringement of the ’344 Patent has injured and continues to injure
   Acceleration Bay in an amount to be proven at trial, but not less than a reasonable royalty.
   Amazon’s actions are willful, blatant and in egregious disregard for Acceleration Bay’s patent
   rights. Amazon’s infringement has caused and is continuing to cause damage and irreparable injury
   to Acceleration Bay, and Acceleration Bay will continue to suffer damage and irreparable injury
   unless and until that infringement is enjoined by this Court.




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   ANSWER:

          Denied.

           104. Amazon acted recklessly, willfully, wantonly, and deliberately engaged in acts of
   infringement of the ’344 Patent, justifying an award to Acceleration Bay of increased damages
   under 35 U.S.C. § 284, and attorney’s fees and costs incurred under 35 U.S.C. § 285.

   ANSWER:

          Denied.

                                              COUNT II
                              (Indirect Infringement of the ’344 Patent)

           105. Acceleration Bay repeats, realleges, and incorporates by reference, as if fully set
   forth herein, the allegations of the preceding paragraphs.

   ANSWER:

          AWS repeats the responses contained in paragraphs 1-104 of this Answer as if fully set

   forth herein.

          106. As discussed above, Amazon knew about Acceleration Bay’s patents, including the
   ’344 Patent, and was informed it was infringing, by no later than March 13, 2019, and further
   knows about its infringement of the ’344 Patent from its receipt of this Complaint.

   ANSWER:

          Denied.

           107. In addition to directly infringing the ’344 Patent, as discussed above with respect
   to Count I, Amazon knew or was willfully blind to the fact that it was inducing infringement of
   the ’344 Patent under 35 U.S.C. § 271(b) by instructing, encouraging, directing, and requiring third
   parties, including its customers, to directly infringe by using and installing the Accused Products
   in the United States.

   ANSWER:

          Denied.

           108. Amazon contributorily infringes the ’344 Patent pursuant to 35 U.S.C. § 271(c)
   because it has provided software, that acts as a material component of the claimed inventions of
   the ’344 Patent. In particular, Amazon knows that its products are particularly suited to be used in
   an infringing manner. Amazon has known or was willfully blind to the fact that it is contributing



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   to the infringement of one or more claims of the ’344 Patent. Amazon’s software is not a staple
   article or commodity of commerce suitable for substantial noninfringing use.

   ANSWER:

          Denied.

           109. Amazon knowingly and actively aided and abetted, encouraged, and contributed to
   the direct infringement of the ’344 Patent by instructing and encouraging its customers, purchasers,
   users, developers, vendors, partners, and manufacturers to meet the elements of the ’344 Patent
   with the Accused Products, as described above. Such instructions and encouragement included,
   but is not limited to, advising third parties to use the Accused Products in an infringing manner
   through direct communications, training and support materials, and customer support regarding
   how to install and configure the Accused Products, by advertising and promoting the use of the
   Accused Products in an infringing manner, and distributing release notes, webinars, guidelines,
   videos, manuals, white papers, and trainings to third parties on how the Accused Products must be
   used. See, e.g., Ex. 10 (EKS User Guide) (including instructions to set up and configure EKS); Ex.
   9 (Step-by-step guide to “[d]eploy an overlay network for regulated and sensitive workloads on
   AWS.”); Ex. 13 (AWS EC2 User Guide) (including instructions to set up and configure EC2); Ex.
   15 (AWS App Mesh User Guide) (including instructions to set up and configure App Mesh); Ex.
   16 (AWS Lambda website); Ex. 19 (AWS Lambda Developer Guide) (including instructions to
   set up and configure Lambda ); Ex. 20 (Amazon CloudFront Developer Guide) (including
   instructions to set up and configure CloudFront); Ex. 22 (VPC Peering guide) (including
   instructions to set up and configure VPC Peering); Ex. 23 (AWS Whitepaper on “Building a
   Scalable and Secure Multi-VPC AWS Network Infrastructure”); Ex. 24 (ELB guide) (including
   instructions to set up and configure Elastic Load Balancing); Ex. 25 (Lumberyard User Guide)
   (including instructions to set up and configure Lumberyard); Ex. 27 (AWS Website) (including
   instructions to set up and configure GridMate); Ex. 26 (Amazon GameLift Developer Guide)
   (including instructions to set up and configure GameLift); Ex. 33 (AWS General Reference)
   (including instructions to set up and configure AWS); Ex. 36 (EC2 Auto Scaling User Guide)
   (including instructions to set up and configure Auto Scaling).

   ANSWER:

          Denied.

           110. Amazon’s indirect infringement of the ’344 Patent has injured and continues to
   injure Acceleration Bay in an amount to be proven at trial, but not less than a reasonable royalty.
   Amazon’s actions are willful, blatant, and in egregious disregard for Acceleration Bay’s patent
   rights. Amazon’s indirect infringement has caused and is continuing to cause damage and
   irreparable injury to Acceleration Bay, and Acceleration Bay will continue to suffer damage and
   irreparable injury unless and until that infringement is enjoined by this Court.

   ANSWER:

          Denied.



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           111. Amazon acted recklessly, willfully, wantonly, and deliberately engaged in acts of
   indirect infringement of the ’344 Patent, justifying an award to Acceleration Bay of increased
   damages under 35 U.S.C. § 284, and attorney’s fees and costs incurred under 35 U.S.C. § 285.

   ANSWER:

          Denied.

                                            COUNT III
                              (Direct Infringement of the ’966 Patent)

           112. Acceleration Bay repeats, realleges, and incorporates by reference, as if fully set
   forth herein, the allegations of the preceding paragraphs, as set forth above.

   ANSWER:

          AWS repeats the responses contained in paragraphs 1-111 of this Answer as if fully set

   forth herein.

           113. Amazon has infringed and continues to infringe at least Claim 13 of the ’966 Patent
   in violation of 35 U.S.C. § 271(a).

   ANSWER:

          Denied.

          114. Amazon’s infringement is based upon literal infringement or infringement under
   the doctrine of equivalents, or both.

   ANSWER:

          Denied.

          115. Amazon’s acts of making, using, importing, selling, and offering for sale the
   Accused Products has been without the permission, consent, authorization, or license of
   Acceleration Bay.

   ANSWER:

          Denied.

          116. To the extent specific components are provided by or steps performed by Amazon’s
   customers or partners, Amazon directs and controls the systems and methods of the claims and
   obtains benefits from the control of the system as a whole, such that those components are put into
   use by Amazon and the steps are deemed to be performed by Amazon. Moreover, Amazon is the



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   final assembler of the infringing system because it controls, assembles, and combines the
   components to form the infringing system.

   ANSWER:

          Denied.

           117. The Accused Products include a computer network for providing an information
   delivery service for a plurality of participants, each participant having connections to at least three
   neighbor participants. For example, Amazon states that AWS “is the world’s most comprehensive
   and broadly adopted cloud platform, offering over 200 fully featured services from data centers
   globally. Millions of customers—including the fastest-growing startups, largest enterprises, and
   leading government agencies—are using AWS to lower costs, become more agile, and innovate
   faster.” Ex. 8 at 1, https://aws.amazon.com/what-is-aws/.

   ANSWER:

          To the extent the allegations of paragraph 117 purport to characterize the contents of a

   written document, said document speaks for itself. AWS admits that it provides services that

   include one or more computer networks, allowing customers to deliver information. AWS admits

   that the quoted text appears on the current version of the cited webpage in paragraph 117 and on

   the Exhibit 8 that Acceleration Bay attached to the Complaint. But AWS denies that Exhibit 8 is a

   true and accurate representation of the current version of the webpage. AWS denies any remaining

   allegations of paragraph 117 of the Complaint.

           118. In the networks provided by the Accused Products, an originating participant sends
   data to the other participants by sending the data through each of its connections to its neighbor
   participants and each participant sends data that it receives from a neighbor participant to its other
   neighbor participants. For example, Amazon EKS groups machines using clusters, which are
   comprised       on     physical    or    virtual       machines     called    nodes.     Ex.       11,
   https://medium.com/kubecost/understanding-kubernetes-cluster-autoscaling-675099a1db92. The
   computers (e.g., physical or virtual machines) send messages between each other for requests for
   resources, for example. Furthermore, AWS utilizes mesh network architectures which involves the
   computers in the mesh network sending messages and relaying messages between each other as
   peers. Examples of these mesh networks are generated using VPC peering and App Mesh.




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   Id.

   ANSWER:

          To the extent the allegations of paragraph 118 purport to characterize the contents of a

   written document, said document speaks for itself. AWS admits that EKS, VPC, and App Mesh

   are AWS services or functionalities. AWS admits that EKS allows customers to create clusters.

   AWS lacks knowledge or information sufficient to form a belief about whether the Exhibit 11 that

   Acceleration Bay attached to the Complaint is a true and accurate representation of the cited




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   webpage and therefore denies that it is under Fed. R. Civ. P. 8(b)(5). AWS denies that the narrative

   allegations of paragraph 118 fully describe the infrastructure of EKS or its functionality. AWS

   lacks knowledge or information sufficient to form a belief about the truth of any remaining

   allegations of paragraph 118, and therefore denies them under Fed. R. Civ. P. 8(b)(5).

            119. As discussed above, the Accused Products use networks that are m-regular, where
   m is the exact number of neighbor participants of each participant and the number of participants
   is at least two greater than m, thus resulting in a non-complete graph. The connections between
   the participants are peer-to-peer connections.

   ANSWER:

          Denied.

           120. The Accused Products’ network is formed through a broadcast channel that
   overlays an underlying network. For example, Accused Products use the
   broadcastGroupMembershipUpdate() function to form the network, which “[t]riggers delivery of
   an updated group membership list to player group. Specify which membership to broadcast
   (groupIdToBroadcast) and the group to receive the update (targetGroupId).” Ex. 26 at 225-26,
   https://docs.aws.amazon.com/gamelift/latest/developerguide/gamelift-dg.pdf.

   ANSWER:

          To the extent the allegations of paragraph 120 purport to characterize the contents of a

   written document, said document speaks for itself. AWS admits that it provides services that allow

   a customer to retrieve a list of group membership for a player group using

   broadcastGroupMembershipUpdate(). AWS admits that the quoted text appears on the current

   version of the cited webpage and on the Exhibit 26 that Acceleration Bay attached to the Complaint

   but denies that the quoted text appears conjunctively. AWS also denies that Exhibit 26 is a true

   and accurate representation of the current version of the cited webpage. Compare D.I. 1, Ex. 26,

   at    ii    (listing    “Copyright       ©     Amazon        Web      Services,        Inc….”)     to

   https://docs.aws.amazon.com/gamelift/latest/developerguide/gamelift-dg.pdf,       at     ii   (listing

   “Copyright © 2022 Amazon Web Services, Inc…..”). And AWS denies that the quoted text fully




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   describes the infrastructure or functionality of any Accused Product. AWS denies any remaining

   allegations of paragraph 120 of the Complaint.

           121. The Accused Products’ information delivery service is provided by at least one
   information delivery service application program executing on each computer of the computer
   network that interacts with the broadcast channel and participants can join and leave the network
   using the broadcast channel. Amazon operates information delivery services on its AWS platform,
   discussed above, such as Amazon Prime Video, Amazon Luna, Amazon Twitch, and CloudFront.
   For example, Twitch includes software apps, where users can join and leave the Twitch network
   using a broadcast channel used to communicate between Twitch servers and applications.

   ANSWER:

          AWS admits that CloudFront is an AWS service. AWS admits that Prime Video, Luna,

   and Twitch utilize or have utilized various AWS services. AWS admits that it provides services

   that allow customers to deliver information. AWS denies any remaining allegations of paragraph

   121 of the Complaint.

           122. Amazon’s infringement of the ’966 Patent has injured and continues to injure
   Acceleration Bay in an amount to be proven at trial, but not less than a reasonable royalty.
   Amazon’s actions are willful, blatant and in egregious disregard for Acceleration Bay’s patent
   rights. Amazon’s infringement has caused and is continuing to cause damage and irreparable injury
   to Acceleration Bay, and Acceleration Bay will continue to suffer damage and irreparable injury
   unless and until that infringement is enjoined by this Court.

   ANSWER:

          Denied.

           123. Amazon acted recklessly, willfully, wantonly, and deliberately engaged in acts of
   infringement of the ’966 Patent, justifying an award to Acceleration Bay of increased damages
   under 35 U.S.C. § 284, and attorney’s fees and costs incurred under 35 U.S.C. § 285.

   ANSWER:

          Denied.

                                             COUNT IV
                             (Indirect Infringement of the ’966 Patent)

           124. Acceleration Bay repeats, realleges, and incorporates by reference, as if fully set
   forth herein, the allegations of the preceding paragraphs.



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   ANSWER:

          AWS repeats the responses contained in paragraphs 1-123 of this Answer as if fully set

   forth herein.

          125. As discussed above, Amazon knew about Acceleration Bay’s patents, including the
   ’966 Patent, and was informed it was infringing, by no later than March 13, 2019, and further
   knows about its infringement of the ’966 Patent from its receipt of this Complaint.

   ANSWER:

          Denied.

           126. In addition to directly infringing the ’966 Patent, as discussed above with respect
   to Count III, Amazon knew or was willfully blind to the fact that it was inducing infringement of
   the ‘966 Patent under 35 U.S.C. § 271(b) by instructing, encouraging, directing, and requiring third
   parties, including its customers, to directly infringe by using and installing the Accused Products
   in the United States.

   ANSWER:

          Denied.

           127. Amazon contributorily infringes the ’966 Patent pursuant to 35 U.S.C. § 271(c)
   because it has provided software, that acts as a material component of the claimed inventions of
   the ’966 Patent. In particular, Amazon knows that its products are particularly suited to be used in
   an infringing manner. Amazon has known or was willfully blind to the fact that it is contributing
   to the infringement of one or more claims of the ’966 Patent. Amazon’s software is not a staple
   article or commodity of commerce suitable for substantial noninfringing use.

   ANSWER:

          Denied.

           128. Amazon knowingly and actively aided and abetted, encouraged, and contributed to
   the direct infringement of the ’966 Patent by instructing and encouraging its customers, purchasers,
   users, developers, vendors, partners, and manufacturers to meet the elements of the ’966 Patent
   with the Accused Products, as described above. Such instructions and encouragement included,
   but is not limited to, advising third parties to use the Accused Products in an infringing manner
   through direct communications, training and support materials, and customer support regarding
   how to install and configure the Accused Products, by advertising and promoting the use of the
   Accused Products in an infringing manner, and distributing release notes, webinars, guidelines,
   videos, manuals, white papers, and trainings to third parties on how the Accused Products must be
   used. See, e.g., Ex. 10 (EKS User Guide) (including instructions to set up and configure EKS); Ex.
   9 (Step-by-step guide to “[d]eploy an overlay network for regulated and sensitive workloads on
   AWS.”); Ex. 13 (AWS EC2 User Guide) (including instructions to set up and configure EC2); Ex.


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   15 (AWS App Mesh User Guide) (including instructions to set up and configure App Mesh); Ex.
   16 (AWS Lambda website); Ex. 19 (AWS Lambda Developer Guide) (including instructions to
   set up and configure Lambda ); Ex. 20 (Amazon CloudFront Developer Guide) (including
   instructions to set up and configure CloudFront); Ex. 22 (VPC Peering guide) (including
   instructions to set up and configure VPC Peering); Ex. 23 (AWS Whitepaper on “Building a
   Scalable and Secure Multi-VPC AWS Network Infrastructure”); Ex. 24 (ELB guide) (including
   instructions to set up and configure Elastic Load Balancing); Ex. 25 (Lumberyard User Guide)
   (including instructions to set up and configure Lumberyard); Ex. 27 (AWS Website) (including
   instructions to set up and configure GridMate); Ex. 26 (Amazon GameLift Developer Guide)
   (including instructions to set up and configure GameLift); Ex. 33 (AWS General Reference)
   (including instructions to set up and configure AWS); Ex. 36 (EC2 Auto Scaling User Guide)
   (including instructions to set up and configure Auto Scaling).

   ANSWER:

          Denied.

           129. Amazon’s indirect infringement of the ’966 Patent has injured and continues to
   injure Acceleration Bay in an amount to be proven at trial, but not less than a reasonable royalty.
   Amazon’s actions are willful, blatant, and in egregious disregard for Acceleration Bay’s patent
   rights. Amazon’s indirect infringement has caused and is continuing to cause damage and
   irreparable injury to Acceleration Bay, and Acceleration Bay will continue to suffer damage and
   irreparable injury unless and until that infringement is enjoined by this Court.

   ANSWER:

          Denied.

           130. Amazon acted recklessly, willfully, wantonly, and deliberately engaged in acts of
   indirect infringement of the ’966 Patent, justifying an award to Acceleration Bay of increased
   damages under 35 U.S.C. § 284, and attorney’s fees and costs incurred under 35 U.S.C. § 285.

   ANSWER:

          Denied.

                                             COUNT V
                              (Direct Infringement of the ’634 Patent)

           131. Acceleration Bay repeats, realleges, and incorporates by reference, as if fully set
   forth herein, the allegations of the preceding paragraphs, as set forth above.

   ANSWER:

          AWS repeats the responses contained in paragraphs 1-130 of this Answer as if fully set

   forth herein.


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           132. Amazon has infringed and continues to infringe at least Claim 25 of the ’634 Patent
   in violation of 35 U.S.C. § 271(a).

   ANSWER:

          Denied.

          133. Amazon’s infringement is based upon literal infringement or infringement under
   the doctrine of equivalents, or both.

   ANSWER:

          Denied.

          134. Amazon’s acts of making, using, importing, selling, and offering for sale the
   Accused Products has been without the permission, consent, authorization, or license of
   Acceleration Bay.

   ANSWER:

          Denied.

          135. To the extent specific components are provided by or steps performed by Amazon’s
   customers or partners, Amazon directs and controls the systems and methods of the claims and
   obtains benefits from the control of the system as a whole, such that those components are put into
   use by Amazon and the steps are deemed to be performed by Amazon. Moreover, Amazon is the
   final assembler of the infringing system because it controls, assembles, and combines the
   components to form the infringing system.

   ANSWER:

          Denied.

           136. The Accused Products include a non-routing table based computer network having
   a plurality of participants, each participant being an application program, and each participant
   having connections to at least three neighbor participants. For example, Amazon CloudFront is a
   content delivery network that does not use routing tables. Amazon CloudFront “peers with
   thousands of Tier 1/2/3 telecom carriers globally, is well connected with all major access networks
   for optimal performance, and has hundreds of terabits of deployed capacity. CloudFront Edge
   locations are connected to the AWS Regions through the AWS network backbone -fully redundant,
   multiple 100GbE parallel fiber that circles the globe and links with tens of thousands of networks
   for improved origin fetches and dynamic content acceleration.” Ex. 21 at 1-2,
   https://aws.amazon.com/cloudfront/features/?whats-new-cloudfront.            Amazon CloudFront
   includes a global network of “310+ Points of Presence (300+ Edge locations and 13 regional mid-
   tier caches) in 90+ cities across 47 countries.” Id. at 2.




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   ANSWER:

          To the extent the allegations of paragraph 136 purport to characterize the contents of a

   written document, said document speaks for itself. AWS admits that CloudFront is an AWS

   service. AWS admits that it provides services that include one or more computer networks. AWS

   admits that the quoted text appears on the Exhibit 21 that Acceleration Bay attached to the

   Complaint. AWS admits that the first quote appears on the current version of the cited webpage.

   AWS denies that the quoted text fully describes the infrastructure or functionality of CloudFront.

   AWS denies any remaining allegations of paragraph 136 of the Complaint.

           137. In the networks of the Accused Products, an originating participant sends data to
   the other participants by sending the data through each of its connections to its neighbor
   participants and each participant sends data that it receives from a neighbor participant to its other
   neighbor participants. Shown below, Amazon CloudFront distributes data between origin servers,
   regional edge caches, and edge locations located all over the world.




   Ex. 20 at 7,
   https://docs.aws.amazon.com/AmazonCloudFront/latest/DeveloperGuide/AmazonCloudFront_D
   evGuide.pdf.




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   ANSWER:

          To the extent the allegations of paragraph 137 purport to characterize the contents of a

   written document, said document speaks for itself. AWS admits CloudFront is an AWS service.

   AWS admits that CloudFront allows customers to send data between servers. AWS denies that

   Exhibit 20 is a true and accurate representation of the current version of the cited webpage.

   Compare D.I. 1, Ex. 20, at cover (listing “Copyright © Amazon Web Services, Inc….”) to

   https://docs.aws.amazon.com/AmazonCloudFront/latest/DeveloperGuide/AmazonCloudFront_D

   evGuide.pdf, at cover (listing “Copyright © 2022 Amazon Web Services, Inc…..”). AWS denies

   that the depicted figure fully describes CloudFront or its functionalities. AWS denies any

   remaining allegations of paragraph 137 of the Complaint.

            138. The Accused Products include process data which is numbered sequentially so that
   data received out of order can be queued and rearranged. For example, Amazon CloudFront
   processes data such as multimedia content, which is segmented and “also generates manifest files,
   which describe in a specific order what segments to play and when.” Id. at 318. Media fragments
   received out of order may be queued and rearranged using a manifest file “that delivers the
   fragments in the right order can be combined, to reduce the load on [customers’] origin server.”
   Id. at 4.

   ANSWER:

          To the extent the allegations of paragraph 138 purport to characterize the contents of a

   written document, said document speaks for itself. AWS admits CloudFront is an AWS service.

   AWS admits that CloudFront allows customers to process data such as multimedia content. AWS

   denies that the quoted text from the current version of the cited webpage in paragraph 137 and on

   the Exhibit 20 that Acceleration Bay attached to the Complaint is complete. See, e.g., D.I. 1, Ex.

   20, at 4 (“… [Y]ou can cache media fragments at the edge ….”), 318 (“You must use an encoder

   to package video content …. The packaging process … generates manifest files ….”) (emphasis

   added). AWS denies that the quoted text or the narrative portions of the allegations in paragraph




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   138 fully describe CloudFront or its functionality. AWS denies any remaining allegations of

   paragraph 138 of the Complaint.

           139. As discussed above, the Accused Products use m-regular networks, where m is the
   exact number of neighbor participants of each participant and the number of participants is at least
   two greater than m thus resulting in a non-complete graph. The connections between the
   participants are peer-to-peer connections.

   ANSWER:

          Denied.

           140. The Accused Products’ networks are dynamic networks which overlay an
   underlying network and participants can interact with a broadcast channel with a channel type and
   channel instance to join and leave the network. For example, application programs form overlay
   networks which operate at the application layer as an overly network on the AWS platform, as
   discussed above. For example, Amazon uses AWS to operate Amazon Prime Video, Amazon
   Luna, Amazon Twitch, and CloudFront. Twitch includes software apps, where users can join and
   leave the Twitch network using a broadcast channel used to communicate between Twitch servers
   and applications. Additionally, Amazon Prime Video allows users to choose video streaming
   content using the broadcast channel.

   ANSWER:

          AWS admits that CloudFront is an AWS service. AWS admits that Prime Video, Luna,

   and Twitch utilize or have utilized various AWS services. AWS admits that it provides services

   that include one or more networks. AWS denies the remaining allegations of paragraph 140 of the

   Complaint.

          141. Amazon’s infringement of the ’634 Patent has injured and continues to injure
   Acceleration Bay in an amount to be proven at trial, but not less than a reasonable royalty.

   ANSWER:

          Denied.

           142. Amazon’s infringement of the ’634 Patent has injured and continues to injure
   Acceleration Bay in an amount to be proven at trial, but not less than a reasonable royalty.
   Amazon’s actions are willful, blatant and in egregious disregard for Acceleration Bay’s patent
   rights. Amazon’s infringement has caused and is continuing to cause damage and irreparable injury
   to Acceleration Bay, and Acceleration Bay will continue to suffer damage and irreparable injury
   unless and until that infringement is enjoined by this Court.



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   ANSWER:

          Denied.

           143. Amazon acted recklessly, willfully, wantonly, and deliberately engaged in acts of
   infringement of the ’634 Patent, justifying an award to Acceleration Bay of increased damages
   under 35 U.S.C. § 284, and attorney’s fees and costs incurred under 35 U.S.C. § 285.

   ANSWER:

          Denied.

                                              COUNT VI
                              (Indirect Infringement of the ’634 Patent)

           144. Acceleration Bay repeats, realleges, and incorporates by reference, as if fully set
   forth herein, the allegations of the preceding paragraphs.

   ANSWER:

          AWS repeats the responses contained in paragraphs 1-143 of this Answer as if fully set

   forth herein.

          145. As discussed above, Amazon knew about Acceleration Bay’s patents, including the
   ’634 Patent, and was informed it was infringing, by no later than March 13, 2019, and further
   knows about its infringement of the ’634 Patent from its receipt of this Complaint.

   ANSWER:

          Denied.

           146. In addition to directly infringing the ’634 Patent, as discussed above with respect
   to Count V, Amazon knew or was willfully blind to the fact that it was inducing infringement of
   the ’634 Patent under 35 U.S.C. § 271(b) by instructing, encouraging, directing, and requiring third
   parties, including its customers, to directly infringe by using and installing the Accused Products
   in the United States.

   ANSWER:

          Denied.

           147. Amazon contributorily infringes the ’634 Patent pursuant to 35 U.S.C. § 271(c)
   because it has provided software, that acts as a material component of the claimed inventions of
   the ’634 Patent. In particular, Amazon knows that its products are particularly suited to be used in
   an infringing manner. Amazon has known or was willfully blind to the fact that it is contributing



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   to the infringement of one or more claims of the ’634 Patent. Amazon’s software is not a staple
   article or commodity of commerce suitable for substantial noninfringing use.

   ANSWER:

          Denied.

           148. Amazon knowingly and actively aided and abetted, encouraged, and contributed to
   the direct infringement of the ’634 Patent by instructing and encouraging its customers, purchasers,
   users, developers, vendors, partners, and manufacturers to meet the elements of the ’634 Patent
   with the Accused Products, as described above. Such instructions and encouragement included,
   but is not limited to, advising third parties to use the Accused Products in an infringing manner
   through direct communications, training and support materials, and customer support regarding
   how to install and configure the Accused Products, by advertising and promoting the use of the
   Accused Products in an infringing manner, and distributing release notes, webinars, guidelines,
   videos, manuals, white papers, and trainings to third parties on how the Accused Products must be
   used. See, e.g., Ex. 10 (EKS User Guide) (including instructions to set up and configure EKS);
   Cohesive Networks VNS3 on AWS -Quick Start.pdf (Step-bystep guide to “[d]eploy an overlay
   network for regulated and sensitive workloads on AWS.”); ecs-ug.pdf (AWS EC2 User Guide)
   (including instructions to set up and configure EC2); Ex. 15 (AWS App Mesh User Guide)
   (including instructions to set up and configure App Mesh); Serverless Computing -AWS Lambda
   -Amazon Web Services.pdf (AWS Lambda website); Ex. 19 (AWS Lambda Developer Guide)
   (including instructions to set up and configure Lambda ); Ex. 20 (Amazon CloudFront Developer
   Guide) (including instructions to set up and configure CloudFront); Ex. 22 (VPC Peering guide)
   (including instructions to set up and configure VPC Peering); building-scalable-secure-multi-vpc-
   network-infrastructure.pdf (AWS Whitepaper on “Building a Scalable and Secure Multi-VPC
   AWS Network Infrastructure”); Ex. 24 (ELB guide) (including instructions to set up and configure
   Elastic Load Balancing); Ex. 25 (Lumberyard User Guide) (including instructions to set up and
   configure Lumberyard); Building Battle-Tested Network Transport _ AWS Game Tech Blog.pdf
   (AWS Website) (including instructions to set up and configure GridMate); Ex. 26 (Amazon
   GameLift Developer Guide) (including instructions to set up and configure GameLift); Ex. 33
   (AWS General Reference) (including instructions to set up and configure AWS); Ex. 36 (EC2
   Auto Scaling User Guide) (including instructions to set up and configure Auto Scaling).

   ANSWER:

          Denied.

           149. Amazon’s indirect infringement of the ’634 Patent has injured and continues to
   injure Acceleration Bay in an amount to be proven at trial, but not less than a reasonable royalty.
   Amazon’s actions are willful, blatant, and in egregious disregard for Acceleration Bay’s patent
   rights. Amazon’s indirect infringement has caused and is continuing to cause damage and
   irreparable injury to Acceleration Bay, and Acceleration Bay will continue to suffer damage and
   irreparable injury unless and until that infringement is enjoined by this Court.




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   ANSWER:

          Denied.

           150. Amazon acted recklessly, willfully, wantonly, and deliberately engaged in acts of
   indirect infringement of the ’634 Patent, justifying an award to Acceleration Bay of increased
   damages under 35 U.S.C. § 284, and attorney’s fees and costs incurred under 35 U.S.C. § 285.

   ANSWER:

          Denied.

                                            COUNT VII
                              (Direct Infringement of the ’069 Patent)

           151. Acceleration Bay repeats, realleges, and incorporates by reference, as if fully set
   forth herein, the allegations of the preceding paragraphs, as set forth above.

   ANSWER:

          AWS repeats the responses contained in paragraphs 1-150 of this Answer as if fully set

   forth herein.

           152. Amazon has infringed and continues to infringe at least Claim 1 of the ’069 Patent
   in violation of 35 U.S.C. § 271(a).

   ANSWER:

          Denied.

          153. Amazon’s infringement is based upon literal infringement or infringement under
   the doctrine of equivalents, or both.

   ANSWER:

          Denied.

          154. Amazon’s acts of making, using, importing, selling, and offering for sale the
   Accused Products has been without the permission, consent, authorization, or license of
   Acceleration Bay.

   ANSWER:

          Denied.




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          155. To the extent specific components are provided by or steps performed by Amazon’s
   customers or partners, Amazon directs and controls the systems and methods of the claims and
   obtains benefits from the control of the system as a whole, such that those components are put into
   use by Amazon and the steps are deemed to be performed by Amazon. Moreover, Amazon is the
   final assembler of the infringing system because it controls, assembles, and combines the
   components to form the infringing system.

   ANSWER:

          Denied.

          156. The Accused Products include a computer-based, non-switch based method for
   adding nodes to a graph that is m-regular and m-connected to maintain the graph as m-regular,
   where m is four or greater. As discussed above, the Accused Products use m-regular, incomplete
   networks. For example, Amazon uses AWS to operate its broadcast services such as Amazon
   Prime Video, Amazon Luna, Amazon Twitch, and CloudFront.

   ANSWER:

          Denied.

          157. The Accused Products identify p pairs of nodes of the graph that are connected,
   where p is one half of m, wherein a seeking node contacts a fully connected portal node, which in
   turn sends an edge connection request to a number of randomly selected neighboring nodes to
   which the seeking node is to connect.

   ANSWER:

          Denied.

           158. For example, the Accused Products utilize VPC peering, which results in “point-
   to-point connectivity” of VPCs using “full bidirectional connectivity between the VPCs. This
   peering connection is used to route traffic between the VPCs. VPCs across accounts and AWS
   Regions       can      also      be       peered      together.”    Ex.       23     at      4,
   https://docs.aws.amazon.com/whitepapers/latest/building-scalable-secure-multi-vpc-
   networkinfrastructure/building-scalable-secure-multi-vpc-network-infrastructure.pdf#welcome.

   ANSWER:

          To the extent the allegations of paragraph 158 purport to characterize the contents of a

   written document, said document speaks for itself. AWS admits that VPC Peering is an AWS

   service. AWS admits that the quoted text appears on the current version of the cited webpage and

   on the Exhibit 23 that Acceleration Bay attached to the Complaint but denies that the quoted text



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   appears conjunctively. AWS also denies that Exhibit 23 is a true and accurate representation of the

   current version of the cited webpage. Compare D.I. 1, Ex. 23, at 41 (indicating “update-history-

   date” of February 22, 2022) to https://docs.aws.amazon.com/whitepapers/latest/building-scalable-

   secure-multi-vpc-network-infrastructure/building-scalable-secure-multi-vpc-network-

   infrastructure.pdf#welcome, at 44 (indicating a further update on July 19, 2022). And AWS denies

   that the quoted text fully describes the infrastructure or functionality of VPC Peering. AWS denies

   any remaining allegations of paragraph 158 of the Complaint.

          159. Interconnecting multiple VPCs (e.g., tens to hundreds) at scale “results in a mesh
   of hundreds to thousands of peering connections.” For example, a 100 VPCs in a full mesh peering
   configuration would require “4,950 peering connections [n(n-1)/2] where n=total number of
   VPCs.” Id. However, the VPCs are limited to a maximum of 125 connections, making the network
   incomplete.




   Id.




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   ANSWER:

          To the extent the allegations of paragraph 159 purport to characterize the contents of a

   written document, said document speaks for itself. AWS denies that the quoted text from the

   current version of the cited webpage in paragraph 159 and on the Exhibit 23 that Acceleration Bay

   attached to the Complaint is complete as it is taken out of context. See, e.g., D.I. 1, Ex. 23, at 4

   (“At scale, when you have tens to hundreds of VPCs, interconnecting them with peering results in

   a mesh of hundreds to thousands of peering connections, which are difficult to manage and

   scale…”) (emphasis added on omitted portion). AWS also denies that Exhibit 23 is a true and

   accurate representation of the current version of the cited webpage in paragraph 55. Compare D.I.

   1,   Ex.   23,   at   41   (indicating   “update-history-date”    of   February    22,   2022)    to

   https://docs.aws.amazon.com/whitepapers/latest/building-scalable-secure-multi-vpc-network-

   infrastructure/building-scalable-secure-multi-vpc-network-infrastructure.pdf#welcome,       at   44

   (indicating a further update on July 19, 2022). AWS denies that the quoted text or the narrative

   portions of the allegations in paragraph 159 fully describe the infrastructure or functionality of

   VPC Peering. AWS denies any remaining allegations of paragraph 159 of the Complaint.

           160. The Accused Products disconnect the nodes of each identified pair from each other
   and connect each node of the identified pairs of nodes to the seeking node. For example, Amazon
   VPC Peering supports Auto Scaling, which supports adding “new instances to the application only
   when necessary, and terminate them when they’re no longer needed.” Ex. 36 at 3-5,
   https://docs.aws.amazon.com/autoscaling/ec2/userguide/as-dg.pdf#asg-in-vpc. VPC Peering Auto
   Scaling “works essentially the same way as it does on Amazon EC2 and supports the same set of
   features,” permitting the m-regular, incomplete network to be maintained as participants are added
   and removed. Id. at 94-96.




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   Id. at 3-5.

   ANSWER:

           To the extent the allegations of paragraph 160 purport to characterize the contents of a

   written document, said document speaks for itself. AWS admits that VPC Peering is an AWS

   service. AWS denies that the quoted text from Exhibit 36 that Acceleration Bay attached to the


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   Complaint is complete. See, e.g., D.I. 1, Ex. 36, at 95 (“… [Y]ou can launch AWS resources such

   as Auto Scaling groups .…”) (emphasis added). AWS also denies that Exhibit 36 is a true and

   accurate representation of the current version of the cited webpage. Compare D.I. 1, Ex. 36, at 361

   (indicating       “update-history-date”         of        April         19,        2022)         to

   https://docs.aws.amazon.com/autoscaling/ec2/userguide/as-dg.pdf#asg-in-vpc, at 367 (indicating

   a further update on July 7, 2022). And AWS denies that the quoted text fully describes the

   infrastructure or functionality of VPC Peering. AWS denies any remaining allegations of

   paragraph 160 of the Complaint.

           161. Amazon’s infringement of the ’069 Patent has injured and continues to injure
   Acceleration Bay in an amount to be proven at trial, but not less than a reasonable royalty.
   Amazon’s actions are willful, blatant and in egregious disregard for Acceleration Bay’s patent
   rights. Amazon’s infringement has caused and is continuing to cause damage and irreparable injury
   to Acceleration Bay, and Acceleration Bay will continue to suffer damage and irreparable injury
   unless and until that infringement is enjoined by this Court.

   ANSWER:

          Denied.

           162. Amazon acted recklessly, willfully, wantonly, and deliberately engaged in acts of
   infringement of the ’069 Patent, justifying an award to Acceleration Bay of increased damages
   under 35 U.S.C. § 284, and attorney’s fees and costs incurred under 35 U.S.C. § 285.

   ANSWER:

          Denied.

                                            COUNT VIII
                             (Indirect Infringement of the ’069 Patent)

           163. Acceleration Bay repeats, realleges, and incorporates by reference, as if fully set
   forth herein, the allegations of the preceding paragraphs.

   ANSWER:

          AWS repeats the responses contained in paragraphs 1-162 of this Answer as if fully set

   forth herein.



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          164. As discussed above, Amazon knew about Acceleration Bay’s patents, including the
   ’069 Patent, and was informed it was infringing, by no later than March 13, 2019, and further
   knows about its infringement of the ’069 Patent from its receipt of this Complaint.

   ANSWER:

          Denied.

           165. In addition to directly infringing the ’069 Patent, as discussed above with respect
   to Count VII, Amazon knew or was willfully blind to the fact that it was inducing infringement of
   the ’069 Patent under 35 U.S.C. § 271(b) by instructing, encouraging, directing, and requiring third
   parties, including its customers, to directly infringe by using and installing the Accused Products
   in the United States.

   ANSWER:

          Denied.

           166. Amazon contributorily infringes the ’069 Patent pursuant to 35 U.S.C. § 271(c)
   because it has provided software, that acts as a material component of the claimed inventions of
   the ’069 Patent. In particular, Amazon knows that its products are particularly suited to be used in
   an infringing manner. Amazon has known or was willfully blind to the fact that it is contributing
   to the infringement of one or more claims of the ’069 Patent. Amazon’s software is not a staple
   article or commodity of commerce suitable for substantial noninfringing use.

   ANSWER:

          Denied.

           167. Amazon knowingly and actively aided and abetted, encouraged, and contributed to
   the direct infringement of the ’069 Patent by instructing and encouraging its customers, purchasers,
   users, developers, vendors, partners, and manufacturers to meet the elements of the ’069 Patent
   with the Accused Products, as described above. Such instructions and encouragement included,
   but is not limited to, advising third parties to use the Accused Products in an infringing manner
   through direct communications, training and support materials, and customer support regarding
   how to install and configure the Accused Products, by advertising and promoting the use of the
   Accused Products in an infringing manner, and distributing release notes, webinars, guidelines,
   videos, manuals, white papers, and trainings to third parties on how the Accused Products must be
   used. See, e.g., Ex. 10 (EKS User Guide) (including instructions to set up and configure EKS); Ex.
   9 (Step-by-step guide to “[d]eploy an overlay network for regulated and sensitive workloads on
   AWS.”); Ex. 13 (AWS EC2 User Guide) (including instructions to set up and configure EC2); Ex.
   15 (AWS App Mesh User Guide) (including instructions to set up and configure App Mesh); Ex.
   16 (AWS Lambda website); Ex. 19 (AWS Lambda Developer Guide) (including instructions to
   set up and configure Lambda ); Ex. 20 (Amazon CloudFront Developer Guide) (including
   instructions to set up and configure CloudFront); Ex. 22 (VPC Peering guide) (including
   instructions to set up and configure VPC Peering); Ex. 23 (AWS Whitepaper on “Building a
   Scalable and Secure Multi-VPC AWS Network Infrastructure”); Ex. 24 (ELB guide) (including


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   instructions to set up and configure Elastic Load Balancing); Ex. 25 (Lumberyard User Guide)
   (including instructions to set up and configure Lumberyard); Ex. 27 (AWS Website) (including
   instructions to set up and configure GridMate); Ex. 26 (Amazon GameLift Developer Guide)
   (including instructions to set up and configure GameLift); Ex. 33 (AWS General Reference)
   (including instructions to set up and configure AWS); Ex. 36 (EC2 Auto Scaling User Guide)
   (including instructions to set up and configure Auto Scaling).

   ANSWER:

          Denied.

           168. Amazon’s indirect infringement of the ’069 Patent has injured and continues to
   injure Acceleration Bay in an amount to be proven at trial, but not less than a reasonable royalty.
   Amazon’s actions are willful, blatant, and in egregious disregard for Acceleration Bay’s patent
   rights. Amazon’s indirect infringement has caused and is continuing to cause damage and
   irreparable injury to Acceleration Bay, and Acceleration Bay will continue to suffer damage and
   irreparable injury unless and until that infringement is enjoined by this Court.

   ANSWER:

          Denied.

           169. Amazon acted recklessly, willfully, wantonly, and deliberately engaged in acts of
   indirect infringement of the ’069 Patent, justifying an award to Acceleration Bay of increased
   damages under 35 U.S.C. § 284, and attorney’s fees and costs incurred under 35 U.S.C. § 285.

   ANSWER:

          Denied.

                                            COUNT IX
                              (Direct Infringement of the ’147 Patent)

           170. Acceleration Bay repeats, realleges, and incorporates by reference, as if fully set
   forth herein, the allegations of the preceding paragraphs, as set forth above.

   ANSWER:

          AWS repeats the responses contained in paragraphs 1-169 of this Answer as if fully set

   forth herein.

           171. Amazon has infringed and continues to infringe at least Claim 6 of the ’147 Patent
   in violation of 35 U.S.C. § 271(a).




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   ANSWER:

          Denied.

          172. Amazon’s infringement is based upon literal infringement or infringement under
   the doctrine of equivalents, or both.

   ANSWER:

          Denied.

          173. Amazon’s acts of making, using, importing, selling, and offering for sale the
   Accused Products has been without the permission, consent, authorization, or license of
   Acceleration Bay.

   ANSWER:

          Denied.

          174. To the extent specific components are provided by or steps performed by Amazon’s
   customers or partners, Amazon directs and controls the systems and methods of the claims and
   obtains benefits from the control of the system as a whole, such that those components are put into
   use by Amazon and the steps are deemed to be performed by Amazon. Moreover, Amazon is the
   final assembler of the infringing system because it controls, assembles, and combines the
   components to form the infringing system.

   ANSWER:

          Denied.

           175. The Accused Products practice a method for healing a disconnection of a first
   computer from a second computer, the computers being connected to a broadcast channel, said
   broadcast channel being an m-regular graph where m is at least 3. AWS is a scalable cloud
   infrastructure. AWS includes EKS, which is “a managed service that [customers] can use to run
   Kubernetes on AWS without needing to install, operate, and maintain [their] own Kubernetes
   control plane or nodes. Kubernetes is an open-source system for automating the deployment,
   scaling,    and    management       of    containerized  applications.”  Ex.    10    at    1,
   https://docs.aws.amazon.com/eks/latest/userguide/eks-ug.pdf. Amazon EKS “[r]uns and scales the
   Kubernetes control plane across multiple AWS Availability Zones to ensure high availability,”
   “[a]utomatically scales control plane instances based on load, detects and replaces unhealthy
   control plane instances,” “[i]s integrated with many AWS services to provide scalability and
   security,” including Amazon ECR for container images, Elastic Load Balancing for load
   distribution, IAM for authentication, and Amazon VPC for isolation.” Id.




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   ANSWER:

          To the extent the allegations of paragraph 175 purport to characterize the contents of a

   written document, said document speaks for itself. AWS admits that EKS is an AWS service. AWS

   admits that its services include a cloud infrastructure that includes scalability traits. AWS admits

   that the quoted text reflects partial excerpts of the current version of the cited webpage and the

   Exhibit 10 that Acceleration Bay attached to the Complaint. But AWS denies that Exhibit 10 is a

   true and accurate representation of the current version of the cited webpage. Compare D.I. 1, Ex.

   10,    at     535     (indicating    “update-history-date”      of     April     4,    2022)     to

   https://docs.aws.amazon.com/eks/latest/userguide/eks-ug.pdf (indicating six updates since April

   4, 2022, including two prior to July 6, 2022). And AWS denies that the quoted text fully describes

   the infrastructure or functionality of EKS. AWS denies the remaining allegations of paragraph 175

   of the Complaint.

           176. This functionality permits the m-regular, incomplete network to be maintained as
   participants are added. Amazon EKS “[a]ctively monitors the load on control plane instances and
   automatically scales them to ensure high performance,” “[a]utomatically detects and replaces
   unhealthy control plane instances, restarting them across the Availability Zones within the AWS
   Region as needed,” and “[l]everages the architecture of AWS Regions in order to maintain high
   availability.” Id.

   ANSWER:

          To the extent the allegations of paragraph 176 purport to characterize the contents of a

   written document, said document speaks for itself. AWS admits that EKS is an AWS service.

   AWS admits that the quoted text appears on the current version of the cited webpage and the

   Exhibit 10 that Acceleration Bay attached to the Complaint. But AWS denies that Exhibit 10 is a

   true and accurate representation of the current version of the cited webpage. Compare D.I. 1, Ex.

   10,    at     535     (indicating    “update-history-date”      of     April     4,    2022)     to

   https://docs.aws.amazon.com/eks/latest/userguide/eks-ug.pdf (indicating six updates since April



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   4, 2022, including two prior to July 6, 2022). And AWS denies that the quoted text fully describes

   the infrastructure or functionality of EKS. AWS denies any remaining allegations of paragraph

   176 of the Complaint.

           177. The Accused Products attempt to send a message from the first computer to the
   second computer. For example, Amazon EKS groups machines using clusters, which are
   comprised       on   physical      or    virtual    machines    called   nodes.      Ex.     11,
   https://medium.com/kubecost/understanding-kubernetes-cluster-autoscaling-675099a1db92. The
   computers (e.g., physical or virtual machines) send messages between each other for requests for
   resources, for example. Furthermore, AWS utilizes mesh network architectures which involves the
   computers in the mesh network sending messages between each other. Examples of these mesh
   networks are generated using VPC peering and App Mesh.




   Ex. 11, https://medium.com/kubecost/understanding-kubernetes-cluster-
   autoscaling675099a1db92.

   ANSWER:

          To the extent the allegations of paragraph 177 purport to characterize the contents of a

   written document, said document speaks for itself. AWS admits that EKS, VPC, and App Mesh


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   are AWS services or functionalities. AWS admits that EKS allows customers to create clusters.

   AWS lacks knowledge or information sufficient to form a belief about whether the Exhibit 11 that

   Acceleration Bay attached to the Complaint is a true and accurate representation of the cited

   webpage and therefore denies that it is under Fed. R. Civ. P. 8(b)(5). AWS denies that the narrative

   allegations of paragraph 177 accurately describe the infrastructure of EKS or its functionality.

   AWS lacks knowledge or information sufficient to form a belief about the truth of any remaining

   allegations of paragraph 177, and therefore denies them under Fed. R. Civ. P. 8(b)(5).

          178. When an attempt to broadcast a message is unsuccessful, the Accused Products
   broadcast from a first computer a connection port search message indicating that the first computer
   needs a connection. The Accused Products use autoscaling to add and remove computing resources
   based on the needs of the applications. For example, the Accused Products include a Cluster
   Autoscaler, which scales the cluster by adding new nodes when a connection is needed, such as a
   request for resources. Id. The Accused Products use a cluster autoscaler algorithm to check for
   pending pods and will provision a new node as necessary. Id.




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   Ex. 11, https://medium.com/kubecost/understanding-kubernetes-cluster-
   autoscaling675099a1db92.

   ANSWER:

          To the extent the allegations of paragraph 178 purport to characterize the contents of a

   written document, said document speaks for itself. AWS admits that Cluster Autoscaler is an AWS

   service or functionality. AWS lacks knowledge or information sufficient to form a belief about

   whether the Exhibit 11 that Acceleration Bay attached to the Complaint is a true and accurate

   representation of the cited webpage and therefore denies that it is under Fed. R. Civ. P. 8(b)(5).

   AWS denies that the narrative allegations of paragraph 178 accurately describe the infrastructure

   or functionality of Cluster Autoscaler. AWS lacks knowledge or information sufficient to form a


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   belief about the truth of any remaining allegations of paragraph 178, and therefore denies them

   under Fed. R. Civ. P. 8(b)(5).

          179. The Accused Products have a third computer not already connected to said first
   computer respond to said connection port search message in a manner as to maintain an m-regular
   graph. For example, the Accused Products request and add a newly provisioned node to the cluster
   in response to the connection port search message to maintain an m-regular graph. Id. Shown
   below, the Accused Products operate on availability zones in various regions and interconnect to
   maintain m-regularity.




   Ex. 37, https://aws.amazon.com/blogs/compute/running-your-game-servers-at-scale-for-up-to90-
   lower-compute-cost/.




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   ANSWER:

          To the extent the allegations of paragraph 179 purport to characterize the contents of a

   written document, said document speaks for itself. AWS admits that its services allow for the

   addition of a computer but denies that AWS controls the addition of a user’s computer. AWS lacks

   knowledge or information sufficient to form a belief about whether the Exhibit 11 that

   Acceleration Bay attached to the Complaint is a true and accurate representation of the cited

   webpage and therefore denies that it is under Fed. R. Civ. P. 8(b)(5). AWS denies that the narrative

   allegations of paragraph 179 accurately describe the infrastructure or functionality of AWS’s

   services. AWS lacks knowledge or information sufficient to form a belief about the truth of any

   remaining allegations of paragraph 179, and therefore denies them under Fed. R. Civ. P. 8(b)(5).

         180. As discussed above, the Accused Products use m-regular, incomplete networks. For
   example, Amazon uses AWS to operate its broadcast services such as Amazon Prime Video,
   Amazon Luna, Amazon Twitch, and CloudFront.

   ANSWER:

          AWS admits that CloudFront is an AWS service. AWS admits that Prime Video, Luna,

   and Twitch utilize or have utilized various AWS services. AWS denies the remaining allegations

   of paragraph 180 of the Complaint.

           181. Amazon’s infringement of the ’147 Patent has injured and continues to injure
   Acceleration Bay in an amount to be proven at trial, but not less than a reasonable royalty.
   Amazon’s actions are willful, blatant and in egregious disregard for Acceleration Bay’s patent
   rights. Amazon’s infringement has caused and is continuing to cause damage and irreparable injury
   to Acceleration Bay, and Acceleration Bay will continue to suffer damage and irreparable injury
   unless and until that infringement is enjoined by this Court.

   ANSWER:

          Denied.

           182. Amazon acted recklessly, willfully, wantonly, and deliberately engaged in acts of
   infringement of the ’147 Patent, justifying an award to Acceleration Bay of increased damages
   under 35 U.S.C. § 284, and attorney’s fees and costs incurred under 35 U.S.C. § 285.



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   ANSWER:

          Denied.

                                              COUNT X
                              (Indirect Infringement of the ’147 Patent)

           183. Acceleration Bay repeats, realleges, and incorporates by reference, as if fully set
   forth herein, the allegations of the preceding paragraphs.

   ANSWER:

          AWS repeats the responses contained in paragraphs 1-182 of this Answer as if fully set

   forth herein.

          184. As discussed above, Amazon knew about Acceleration Bay’s patents, including the
   ’147 Patent, and was informed it was infringing, by no later than March 13, 2019, and further
   knows about its infringement of the ’147 Patent from its receipt of this Complaint.

   ANSWER:

          Denied.

           185. In addition to directly infringing the ’147 Patent, as discussed above with respect
   to Count IX, Amazon knew or was willfully blind to the fact that it was inducing infringement of
   the ’147 Patent under 35 U.S.C. § 271(b) by instructing, encouraging, directing, and requiring third
   parties, including its customers, to directly infringe by using and installing the Accused Products
   in the United States.

   ANSWER:

          Denied.

           186. Amazon contributorily infringes the ’147 Patent pursuant to 35 U.S.C. § 271(c)
   because it has provided software, that acts as a material component of the claimed inventions of
   the ’147 Patent. In particular, Amazon knows that its products are particularly suited to be used in
   an infringing manner. Amazon has known or was willfully blind to the fact that it is contributing
   to the infringement of one or more claims of the ’147 Patent. Amazon’s software is not a staple
   article or commodity of commerce suitable for substantial noninfringing use.

   ANSWER:

          Denied.

           187. Amazon knowingly and actively aided and abetted, encouraged, and contributed to
   the direct infringement of the ’147 Patent by instructing and encouraging its customers, purchasers,


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   users, developers, vendors, partners, and manufacturers to meet the elements of the ’147 Patent
   with the Accused Products, as described above. Such instructions and encouragement included,
   but is not limited to, advising third parties to use the Accused Products in an infringing manner
   through direct communications, training and support materials, and customer support regarding
   how to install and configure the Accused Products, by advertising and promoting the use of the
   Accused Products in an infringing manner, and distributing release notes, webinars, guidelines,
   videos, manuals, white papers, and trainings to third parties on how the Accused Products must be
   used. See, e.g., Ex. 10 (EKS User Guide) (including instructions to set up and configure EKS); Ex.
   9 (Step-by-step guide to “[d]eploy an overlay network for regulated and sensitive workloads on
   AWS.”); Ex. 13 (AWS EC2 User Guide) (including instructions to set up and configure EC2); Ex.
   15 (AWS App Mesh User Guide) (including instructions to set up and configure App Mesh); Ex.
   16 (AWS Lambda website); Ex. 19 (AWS Lambda Developer Guide) (including instructions to
   set up and configure Lambda ); Ex. 20 (Amazon CloudFront Developer Guide) (including
   instructions to set up and configure CloudFront); Ex. 22 (VPC Peering guide) (including
   instructions to set up and configure VPC Peering); Ex. 23 (AWS Whitepaper on “Building a
   Scalable and Secure Multi-VPC AWS Network Infrastructure”); Ex. 24 (ELB guide) (including
   instructions to set up and configure Elastic Load Balancing); Ex. 25 (Lumberyard User Guide)
   (including instructions to set up and configure Lumberyard); Ex. 27 (AWS Website) (including
   instructions to set up and configure GridMate); Ex. 26 (Amazon GameLift Developer Guide)
   (including instructions to set up and configure GameLift); Ex. 33 (AWS General Reference)
   (including instructions to set up and configure AWS); Ex. 36 (EC2 Auto Scaling User Guide)
   (including instructions to set up and configure Auto Scaling).

   ANSWER:

          Denied.

           188. Amazon’s indirect infringement of the ’147 Patent has injured and continues to
   injure Acceleration Bay in an amount to be proven at trial, but not less than a reasonable royalty.
   Amazon’s actions are willful, blatant, and in egregious disregard for Acceleration Bay’s patent
   rights. Amazon’s indirect infringement has caused and is continuing to cause damage and
   irreparable injury to Acceleration Bay, and Acceleration Bay will continue to suffer damage and
   irreparable injury unless and until that infringement is enjoined by this Court.

   ANSWER:

          Denied.

           189. Amazon acted recklessly, willfully, wantonly, and deliberately engaged in acts of
   indirect infringement of the ’147 Patent, justifying an award to Acceleration Bay of increased
   damages under 35 U.S.C. § 284, and attorney’s fees and costs incurred under 35 U.S.C. § 285.

   ANSWER:

          Denied.




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                                       PRAYER FOR RELIEF

          WHEREFORE, Acceleration Bay prays for judgment and relief as follows:

           A.      an entry of judgment holding that Amazon has infringed and is infringing the ’344,
   ’966, ’147, ’634, and ’069 Patents; and has induced infringement and is inducing infringement of
   the ’344, ’966, ’147, ’634, and ’069 Patents; and has contributorily infringed and continues to
   contribute to infringement of the ’344, ’966, ’147, ’634, and ’069 Patents;

           B.     a preliminary and permanent injunction against Amazon and its officers,
   employees, agents, servants, attorneys, instrumentalities, and/or those in privity with them, from
   infringing, inducing, and contributing to the infringement of the ’344, ’966, ’147, ’634, and ’069
   Patents and for all further and proper injunctive relief pursuant to 35 U.S.C. § 283;

           C.     an award to Acceleration Bay of such damages as it shall prove at trial against
   Amazon that is adequate to fully compensate Acceleration Bay for Amazon’ infringement of the
   ’344, ’966, ’147, ’634, and ’069 Patents; said damages to be no less than a reasonable royalty;

          D.      a determination that Amazon’s infringement has been willful, wanton, and
   deliberate, and that the damages against it be trebled on this basis or for any other basis in
   accordance with the law;

          E.      an award to Acceleration Bay of increased damages under 35 U.S.C. § 284,
   including that Amazon willfully infringed the ’344, ’966, ’147, ’634, and ’069 Patents;

           F.     a finding that this case is “exceptional” and an award to Acceleration Bay of its
   costs and reasonable attorneys’ fees, as provided by 35 U.S.C. § 285;

           G.      an accounting of all infringing sales and revenues, together with post judgment
   interest and prejudgment interest from the first date of infringement of the ’344, ’966, ’147, ’634,
   and ’069 Patents; and

          H.      such further and other relief as the Court may deem proper and just.

   ANSWER:

          No response is required to Acceleration Bay’s prayer for relief. To the extent any response

   is required, AWS denies that Acceleration Bay is entitled to any of the relief described, or to any

   relief whatsoever.




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                                              DEFENSES

          Pursuant to Federal Rule of Civil Procedure 8(c), AWS asserts the following defenses to

   the Complaint. In making such defenses, AWS does not concede that it bears the burden of proof

   as to any of them. AWS reserves the right to amend, modify, or expand these defenses, and to take

   further positions, as appropriate as discovery and the litigation proceed.


                                           FIRST DEFENSE
                                          (Non-Infringement)

          AWS does not infringe, and has not infringed, any valid, enforceable, asserted claim of the

   Asserted Patents either literally or under the doctrine of equivalents, under any theory of

   infringement.

                                         SECOND DEFENSE
                                            (Invalidity)

          Each asserted claim of the Asserted Patents is invalid for failure to comply with one or

   more of the requirements of Title 35 of the United States Code, including without limitation 35

   U.S.C. §§ 101, 102, 103, 112 and/or 116.

                                          THIRD DEFENSE
                                          (Lack of Standing)

          To the extent Acceleration Bay does not possess full and complete title to one or more of

   the Asserted Patents, including but not limited to because of the terms of the purchase of the

   Asserted Patents from their prior owner, Acceleration Bay lacks standing to bring a lawsuit on

   such patent(s).

                                        FOURTH DEFENSE
                                     (Express or Implied License)

          To the extent the Asserted Patents have been licensed to AWS’s customers, suppliers, or

   other third parties, Acceleration Bay’s claims are barred, in whole or in part, by express license,



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   release, and/or under the doctrine of implied license, patent exhaustion, and/or the single recovery

   rule. Further, when Acceleration Bay purchased the Asserted Patents, it received those patents with

   all the prior encumbrances. Those encumbrances included any prior agreements between the prior

   owner of the Asserted Patents and AWS limiting the prior owner’s right to assert a claim for

   infringement of the Asserted Patents against AWS. To the extent such encumbrances exist,

   Acceleration Bay’s claims are barred, in whole or in part, by express license, release, and/or under

   the doctrine of implied license, patent exhaustion, and/or the single recovery rule.

                                           FIFTH DEFENSE
                                          (Breach of Contract)

          Upon information and belief, Acceleration Bay and the prior owner of the Asserted Patents

   entered into a contract in connection with the prior owner’s sale of some portion of the rights, title,

   and interest in at least the Asserted Patents to Acceleration Bay. Upon information and belief, that

   contract provides that it was made subject to all of the rights that the prior owner of the Asserted

   Patents had provided to third parties prior to its execution. Based on previous agreements AWS

   had with the prior owner of the Asserted Patents, AWS is a third-party beneficiary to the contract

   between Acceleration Bay and the prior owner of the Asserted Patents. Thus, Acceleration Bay

   has breached its contract by bringing this litigation.

                                         SIXTH DEFENSE
                            (Prosecution History Estoppel and Disclaimer)

          Based on its statements, representations, and admissions made during prosecution of the

   patent applications that resulted in the Asserted Patents or related patent applications, Acceleration

   Bay is barred from asserting any interpretation of any valid, enforceable claim of the Asserted

   Patens that would be broad enough to cover any Accused Product alleged to infringe the Asserted

   Patents.



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                                        SEVENTH DEFENSE
                                         (Equitable Defenses)

          Acceleration Bay’s attempted enforcement of the Asserted Patents against AWS is barred

   by one or more of the equitable defenses of estoppel, acquiescence, waiver, and unclean hands.


                                        EIGHTH DEFENSE
                                      (Limitation on Damages)

          Acceleration Bay’s claim for damages is statutorily limited by 35 U.S.C. §§ 286 and 287.

                                         NINTH DEFENSE
                                        (No Injunctive Relief)

          No injunctive relief is warranted at least because the Asserted Patents have all expired.

                                        TENTH DEFENSE
                            (Limitation on Recovery of Fees and Costs)

          Acceleration Bay is not entitled to recover attorneys’ fees associated with this action under

   35 U.S.C. § 285 or costs associated with this action under 35 U.S.C. § 288.

                                       ELEVENTH DEFENSE
                                          (No Willfulness)

          Acceleration Bay is not entitled to seek enhanced damages or attorneys’ fees for willful

   infringement, at least because AWS lacked sufficient prior notice of the Asserted Patents and has

   not intentionally or deliberately infringed or acted in an egregious manner or with willful

   misconduct.

                                       TWELFTH DEFENSE
                                        (Government Sales)

          To the extent that products accused of infringing the Asserted Patents are used by and/or

   manufactured for the United States Government, Acceleration Bay’s claims with respect to such

   products may not be pursued in this Court and are subject to other limitations under 28 U.S.C.

   § 1498.



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                                    RESERVATION OF RIGHTS

          AWS hereby reserves the right to amend its Answer, and reserves all defenses set out in

   Rule 8(c) of the Federal Rules of Civil Procedure, the Patent Laws of the United States, and any

   other defenses, at law or equity, which become applicable based on later-produced discovery or

   otherwise made apparent during the course of this litigation.

                                       PRAYER FOR RELIEF

          WHEREFORE, having answered Acceleration Bay’s Complaint, AWS respectfully

   requests entry of judgment in its favor, including:

          A. Denying all relief sought by Acceleration Bay in its Complaint;

          B. Dismissing with prejudice each and every claim asserted in the Complaint;

          C. Ordering that judgment be entered in AWS’s favor;

          D. Awarding AWS its costs and expenses, including attorneys’ fees incurred; and

          E. Granting AWS any other additional relief that this Court may deem just and proper.


                                                         MORRIS, NICHOLS, ARSHT & TUNNELL LLP

                                                         /s/ Jennifer Ying

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   September 15, 2022




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                                   CERTIFICATE OF SERVICE

          I hereby certify that on September 15, 2022, I caused the foregoing to be electronically

   filed with the Clerk of the Court using CM/ECF, which will send notification of such filing to all

   registered participants.

          I further certify that I caused copies of the foregoing document to be served on

   September 15, 2022, upon the following in the manner indicated:

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